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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION                                           ENTERED
                                                                                              07/21/2010
IN RE:                                          §
YDALIA RODRIGUEZ,                               §        Case No. 02-10605
       Debtor(s).                               §
                                                §        Chapter 13
                                                §
YDALIA RODRIGUEZ, et al,                        §
     Plaintiff(s)                               §
                                                §
VS.                                             §        Adversary No. 08-01004
                                                §
COUNTRYWIDE HOME LOANS, INC.,                   §
     Defendant(s).                              §        Judge Isgur
                                                §

      MEMORANDUM OPINION GRANTING, IN PART, AND DENYING, IN PART,
             PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

       For the reasons set forth below, the Court grants, in part, and denies, in part, Plaintiffs’

motion for class certification.

                                          Jurisdiction

       The Court has jurisdiction over this matter under 28 U.S.C. § 1334. See also Wilborn v.

Wells Fargo Bank, N.A. (In re Wilborn), --- F.3d ----, 2010 WL 2433091, at *4 (5th Cir. June 18,

2010) (“[B]ankruptcy court has authority to certify a class action of debtors whose petitions are

filed within its judicial district provided the prerequisites for a class under Rule 23 are

satisfied.”). Venue is proper in this District pursuant to 28 U.S.C. § 1409. This is a core

proceeding under 28 U.S.C. § 157(b)(2).

                                          Background

       i. Summary of Dispute

       This class action lawsuit was initiated on February 26, 2008 by named Plaintiffs Ydalia

Rodriguez, Maria Antoineta Herrera and David Herrera, and Lucy Moreno and Alfonso Moreno
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(“Plaintiffs”). Plaintiffs are all former chapter 13 debtors with mortgage contracts serviced by

Countrywide Home Loans, Inc. (now BAC Home Loans Servicing, LP). Plaintiffs allegedly

cured their pre-petition mortgage arrearages, completed their chapter 13 plans, and received a

discharge.      Plaintiffs claim that Countrywide nevertheless sought to foreclose on Plaintiffs’

homes after Plaintiffs emerged from bankruptcy.                       According to Plaintiffs, Countrywide

improperly charged unauthorized fees1 to Plaintiffs’ accounts during the pendency of their

bankruptcy cases. Countrywide then allegedly threatened to foreclose if the fees were not paid

after the Plaintiffs were discharged from bankruptcy. In essence, Plaintiffs claim that instead of

receiving chapter 13’s promise of a fresh start upon discharge, they were illegally forced into

post-discharge default.

         At the outset of the case, Plaintiffs alleged that Countrywide employed numerous,

systemic practices that violated various provisions of the United States Bankruptcy Code.2

These practices allegedly culminated in Countrywide’s impermissible attempts to foreclose on

the Plaintiffs’ homes. After this Court’s rulings on Countrywide’s Motion to Dismiss (Doc. No.

63) and Motion for Summary Judgment (Doc. No. 287), and the United States District Court’s

decision on Countrywide’s Motion to Withdraw the Reference, the dispute has been considerably

narrowed. See In re Rodriguez, 396 B.R. 436 (Bankr. S.D. Tex. 2009) (denying, in part, and

reserving judgment on, in part, Countrywide’s Motion to Dismiss); Rodriguez v. Countrywide

Home Loans, Inc., 421 B.R. 341 (S.D. Tex. 2009) (denying Countrywide’s Motion to Withdraw

the Reference); In re Rodriguez, 421 B.R. 356 (S.D. Tex. 2009) (granting, in part, and denying in


1
   Although the parties at times distinguish the terms “fees” and “costs,” the Court uses the terms interchangeably
throughout the opinion.
2
  See In re Rodriguez, 421 B.R. 356, 361 (Bankr. S.D. Tex. 2009) (Plaintiffs alleged that Countrywide violated
(i) the discharge injunction, (ii) automatic stay, (iii) their chapter 13 plans and/or the orders confirming their plans,
(iv) 11 U.S.C. § 506(b) and/or Bankruptcy Rule 2016(a), and (v) their mortgage contracts).

                                                           2
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part, Countrywide’s Motion for Summary Judgment).                     See also MANUAL         FOR   COMPLEX

LITIGATION § 21.133 (4th ed. 2004) (“The court may rule on motions pursuant to Rule 12, Rule

56, or other threshold issues before deciding on certification . . . .”). As set forth below, the key

remaining issue is whether Countrywide’s fee collection practices violate Federal Rule of

Bankruptcy Procedure 2016(a) on a scale that merits certification of this class action.

        ii. Summary Judgment & Rule 2016(a)

        The Court discussed Rule 2016(a)’s application in this case in its December 9, 2009

Memorandum Opinion resolving Countrywide’s Motion for Summary Judgment. See Rodriguez,

421 B.R. at 372-80. Since the Court’s Rule 2016(a) analysis is “the law of the case” and

fundamental to Plaintiffs’ claims, the Court reiterates the relevant Rule 2016(a) principles here.3

See Countrywide, 421 B.R. at 355 (upholding this Court’s conclusion that Rule 2016(a) requires

mortgage lenders to “disclose and seek bankruptcy court approval of fees and expenses charged

post-petition and pre-discharge”); Wilborn, --- F.3d ----, 2010 WL 2433091, at *5 (assuming,

without deciding, that “prior disclosure and approval are necessary” before contractually-allowed

fees can be assessed against debtors in bankruptcy). See also Woods v. Kenan (In re Woods), 215

B.R. 623, 625 (B.A.P. 10th Cir. 1998) (“Issues decided on appeal become the law of the case and

are [generally] to be followed in all subsequent proceedings in the same case in the trial court or

on a later appeal in the appellate court . . . .”) (emphasis added).

        Plaintiffs claim that Countrywide’s collection practices violate Bankruptcy Rule 2016(a),

which provides:

                 An entity seeking interim or final compensation for services, or
                 reimbursement of necessary expenses, from the estate shall file an
                 application setting forth a detailed statement of (1) the services

3
 The Court is simply providing a summary of its Rule 2016(a) analysis. For a more complete understanding of Rule
2016(a)’s application, see Rodriguez, 421 B.R. at 372-80.

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                 rendered, time expended and expenses incurred, and (2) the
                 amounts requested . . . . The requirements of this subdivision shall
                 apply to an application for compensation for services rendered by
                 an attorney or accountant even though the application is filed by a
                 creditor or other entity.

FED. R. BANKR. P. 2016(a). Thus, “[u]nder the plain language of Rule 2016, a mortgage lender

must file a Rule 2016 application before collecting any reimbursable fees and costs while a

chapter 13 case remains pending.” Rodriguez, 421 B.R. at 372 (citing Cano v. GMAC Mortgage

Corp. (In re Cano), 410 B.R. 506, 532 (Bankr. S.D. Tex. 2009)).

        Plaintiffs claim that two of Countrywide’s fee collection practices violate Rule 2016(a).

Rodriguez, 421 B.R. at 372. First, Plaintiffs claim that Countrywide misapplied bankruptcy plan

payments that should have been credited to their monthly mortgage payments by instead

crediting portions of the payments to unauthorized fees. Id.                   Second, Plaintiffs claim that

Countrywide charged undisclosed and unauthorized fees to their accounts while their bankruptcy

cases were pending and then attempted to collect those fees by threatening foreclosure after

Plaintiffs were discharged from bankruptcy. Id.

        As set forth in the next section, which discusses the named Plaintiffs’ cases, Countrywide

admits that it misapplied plan payments and charged fees without Court approval, but

Countrywide claims its actions were on a smaller and less systematic scale than Plaintiffs allege.4

However, at the summary judgment stage, Countrywide claimed that, irrespective of whether

such collection activity occurred, its collection practices did not violate Rule 2016(a). Id.

        Countrywide advanced two theories as to why its conduct did not violate Rule 2016(a).

First, Countrywide argued that Rule 2016(a) is inapplicable to its post-confirmation collection


4
  Countrywide claims that it was not Countrywide’s regular practice to charge, collect, or attempt to collect
unauthorized fees. Any such collection activity was, according to Countrywide, sporadic and not part of a concerted
or systematic fee collection process.

                                                        4
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activity because, under 11 U.S.C. § 1327(b),5 the estate ordinarily ceases to exist upon

confirmation. Id. at 373. Countrywide correctly articulated that Rule 2016(a), by its express

terms, only applies to property of the estate. However, the Court held that Countrywide’s theory

that the estate ceases to exist upon confirmation was incorrect under 11 U.S.C. § 1306(a)(2).6 Id.

at 373-74. The Court’s conclusion was consistent with the majority view of the courts, including

three circuit courts. Id. As explained by the Eleventh Circuit:

                 While the case is pending, the post-petition property . . . [is] added
                 to the estate until confirmation, the event that triggers [section]
                 1327(b) and “vests” the property of the estate in the debtor. That is,
                 the property interests comprising the pre-confirmation estate
                 property are transferred to the debtor at confirmation, and this
                 “vesting” is free and clear of the claims or interests of creditors
                 provided for by the plan, [section] 1327(b), (c). Finally, the
                 property of the estate once again accumulates property by
                 operation of [section] 1306(a) until the case is “closed, dismissed,
                 or converted.”

In re Waldron, 536 F.3d 1239, 1243 (11th Cir. 2008), quoted in Rodriguez, 421 B.R. at 374.

        Countrywide’s second defense was that Rule 2016(a) does not apply when fees are

assessed during bankruptcy but not collected until post-bankruptcy. Rodriguez, 421 B.R. at 378.

The Court rejected this argument for two reasons. First, as discussed in the next section, there is

evidence that Countrywide collected unauthorized fees from the named Plaintiffs while their

bankruptcy cases were pending. Id. To the extent Countrywide collected unapproved fees while

cases were pending, Countrywide’s second defense is a non sequitur.

        The Court also rejected Countrywide’s second argument under 11 U.S.C. § 105:



5
  Section 1327(b) provides, “[e]xcept as otherwise provided in the plan or the order confirming the plan, the
confirmation of a plan vests all of the property of the estate in the debtor.” 11 U.S.C. § 1327(b) (emphasis added).
6
 Section 1306(a)(2) provides, in part, that property of the estate includes “earnings from services performed by the
debtor after the commencement of the case but before the case is closed, dismissed, or converted to a case under
chapter 7, 11, or 21 of this title . . . .” 11 U.S.C. § 1306(a)(2).

                                                         5
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              Countrywide attempts to take advantage of a loophole in Rule
              2016. Countrywide argues that Rule 2016 is inapplicable once the
              case is terminated and the estate ceases to exist. This argument is
              made because Rule 2016 only requires Countrywide to seek
              approval of its fees if they are to be collected from the estate.
              Countrywide reasons that if it waits until the estate terminates, it
              can collect the very same fees from the debtor instead of from the
              estate.

              If such a literal reading correctly allows Countrywide to escape the
              requirements of Rule 2016, then it would clearly raise concerns
              under 11 U.S.C. § 105. The District Court's December 4, 2009
              Memorandum Opinion holds that this Court was correct in finding
              that § 105 provides relief for the precise actions at issue in this
              case. See [Rodriguez, 421 B.R. at 356]. Section 105 provides that
              the Court may issue judgments or orders that are “necessary or
              appropriate to enforce or implement court orders or rules, or to
              prevent an abuse of process.” 11 U.S.C. § 105. As this Court has
              already stated [in Cano, 410 B.R. at 534],

                 The Court cannot administer an estate in a just, speedy,
                 inexpensive, efficient, and equitable manner without
                 requiring creditors to file a Rule 2016(a) application for
                 fees and costs that creditors seek to collect post-
                 confirmation. Without Rule 2016(a) applications, the Court
                 cannot ensure compliance with court orders or protect a
                 debtor’s rights under § 1322(b)(5) and the right to a fresh
                 start.

              Thus, if Countrywide’s alleged sharp dealings are technically
              permissible, they are certainly an abuse of process subject to § 105.
              Countrywide’s arguments would preclude a debtor from obtaining
              a fresh start by obviating the debtor’s ability to implement §
              1322(b)(5). Section 1322(b)(5) explicitly allows debtors to
              maintain mortgage payments. Rule 2016 provides a mechanism for
              such maintenance of the mortgage by requiring disclosure and
              approval of fees. It also “ensures that creditors are not given a
              blank check to incur fees that will be charged against the estate.”
              Sanchez, 372 B.R. at 304 (citations omitted). Rule 2016—and the
              fresh start—are thwarted when mortgagees wait until after
              bankruptcy to collect fees and expenses that are not disclosed
              while chapter 13 cases are pending.

Id. at 380.



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           iii. Named Plaintiffs’ Cases

           The summary judgment and class certification stages have also narrowed the facts and

allegations surrounding the named Plaintiffs’ cases.7 Although the class certification question

deals with larger issues than the named Plaintiffs’ individual cases, an explanation of these cases

provides a necessary backdrop for resolving the question of whether the class should be certified.

                a. The Rodriguez Case

           Rodriguez filed her chapter 13 petition on August 2, 2002. Countrywide filed an original

proof of claim listing an $8,919.38 pre-petition mortgage deficiency. Rodriguez’s chapter 13

plan was confirmed on November 7, 2002.

           Countrywide filed a motion for relief from the automatic stay on March 26, 2003,

alleging that Rodriguez was delinquent on her post-petition mortgage payments. The motion

was resolved by an agreed order entered on May 7, 2003, which stipulated to a post-petition

deficiency of $3,051.32.8 The agreed order also stated that Rodriguez’s monthly mortgage

payment was $938.009 and provided that Countrywide could assess a $50.00 fee for any future

notice of default that it sent to Rodriguez.

           After entry of the agreed order, Countrywide sent Rodriguez notice of default on two

occasions, November 2005 and August 2006, while her case was pending. Both notices of

default were sent because Rodriguez missed multiple monthly payments and, when Rodriguez


7
  The Court has not conducted a full trial on the merits of named Plaintiffs’ cases. Many of the disputed facts and
issues have been resolved by the parties. See COMPLEX LITIGATION, supra, § 21.21 (“Disputed facts material to
deciding certification may be narrowed or eliminated by stipulations, requests for admission, affidavits, or
declarations.”). However, there are remaining, specific factual issues that need not be resolved at this stage in the
litigation. See id.
8
    The agreed order included a $655.00 stipulation for attorney’s fees and a $144.32 stipulation for late charges.
9
  The $938.00 statement clarified what appears to have been a misunderstanding between Rodriguez and
Countrywide regarding the amount due for her monthly mortgage payment.

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would make her monthly payment, she regularly paid $750.00 instead of $938.00. Rodriguez

cured the amounts stated in both notices of default and paid the concomitant $50.00 notice fee in

accordance with the May 7, 2003 agreed order. After Countrywide received each cure payment,

Countrywide treated Rodriguez’s account as current and did not disclose any additional charges

or deficiencies on Rodriguez’s monthly statements.

        By the time Rodriguez received her discharge on August 27, 2007, Rodriguez had

satisfied both the $8,919.38 pre-petition arrearage and the $3,051.32 post-petition deficiency.

Nevertheless, on November 15, 2007, Countrywide sent Rodriguez a notice of default stating

that Rodriguez owed $8,837.20 in post-petition mortgage payments and various fees. The notice

further stated that Countrywide would accelerate Rodriguez’s debt and foreclose on Rodriguez’s

home if she failed to cure the $8,837.20 deficiency.

        Countrywide claims that nearly all of the $8,837.20 it sought arose from Rodriguez’s

missed or partial monthly payments, which were inadvertently excluded from the November

2005 and August 2006 notices of default.10 Countrywide states that it recognized its mistake

during a post-discharge review of Rodriguez’s loan and sent the November 15, 2007 notice of

default thereafter. Countrywide also admits that the $8,837.20 it sought included $127.78 in late

fees.

        Rodriguez moved to reopen her bankruptcy case and the Court granted the motion on

February 13, 2008. Countrywide claims that after Rodriguez moved to reopen her bankruptcy

case, Countrywide advanced its own money to cure Rodriguez’s delinquency, canceled the

foreclosure, and treated Rodriguez’s account as current through February 2008.

10
   Countrywide claims that the November 2005 notice of default erroneously stated that Rodriguez was only three
post-petition payments behind, when in fact Rodriguez owed twelve post-petition payments. Similarly,
Countrywide claims that the August 2006 default notice listed only one default and failed to include additional
arrearages.

                                                      8
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       Finally, it is noteworthy that Countrywide admits charging $172.00 in unauthorized

inspection fees and misapplying $92 from a monthly mortgage payment during Rodriguez’s

case. The $92 should have been applied to Rodriguez’s mortgage balance but was instead

applied to the payment of an undisclosed inspection fee.

           b. The Herreras Case

       The Herreras filed a joint petition on November 29, 2001. Countrywide filed a proof of

claim listing a total arrearage of $10,432.87. The Herreras’ chapter 13 plan was confirmed on

April 11, 2002. However, the plan listed the Herreras’ arrearage to Countrywide at $2,931.10.11

       On July 30, 2002, Countrywide filed a motion for relief from the automatic stay claiming

that the Herreras were delinquent on post-petition mortgage payments. The motion was resolved

by an agreed order on December 2, 2002. Under the agreed order, the Herreras were ordered to

pay $5,435.00 to Countrywide.        The $5,435.00 consisted of five monthly payments in the

amount of $946.00 and $705.00 for attorney’s fees and costs. The order further provided that

Countrywide would be entitled to charge the Herreras a $25.00 fee for subsequent notices

concerning future post-petition defaults.

       In late 2006, the chapter 13 trustee discovered the deficiency in the Herreras’ bankruptcy

plan. The Herreras then filed an objection to Countrywide’s proof of claim. The objection was

resolved by an agreed order entered on June 22, 2007. The order provided that $8,327.00 in

unpaid pre-petition arrearages would be added to the Herreras’ principal balance and paid

through regular monthly payments over an extended loan term.




11
   Countrywide states that it deposed the Herreras’ bankruptcy attorney, who stated that she did not see
Countrywide’s proof of claim and based the $2,931.10 amount on information from the Herreras’ previous
bankruptcy case.

                                                   9
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         The Herreras were discharged on August 24, 2007. Nevertheless, on December 17, 2007,

Countrywide sent the Herreras a notice of default stating that they owed $8,327.00 in unpaid

arrearages and $238.67 in outstanding fees.              The notice provided that Countrywide would

institute foreclosure proceedings if the Herreras did not cure the delinquency by January 21,

2008.     Countrywide admits the notice was sent erroneously and blames the mistake upon

Countrywide’s failure to update its non-bankruptcy servicing records to reflect the terms of the

June 22, 2007 agreed order.

         The Court further notes that the evidence indicates Countrywide charged the Herreras

undisclosed fees during the course of their bankruptcy case. Countrywide charged the Herreras a

$200.00 fee for services in connection with the filing of Countrywide’s proof of claim.

Countrywide also charged the Herreras numerous undisclosed inspection fees and Countrywide

did not seek approval for the $238.67 in fees sought in the December 17, 2007 notice of

default.12

         Finally, although the evidence is not entirely clear at this time, Countrywide may have

misapplied plan payments by crediting $206.33 to unauthorized post-petition fees. (Def.’s Br. 13,

n.13).

             c. The Morenos Case

         The Morenos filed a chapter 13 petition on October 18, 2001. Countrywide filed a proof

of claim on November 30, 2001 for $4,641.57. The Morenos confirmed their amended plan on

February 22, 2002.

         On May 8, 2002, Countrywide filed a motion for relief from the automatic stay. The

motion alleged that the Morenos were delinquent on their mortgage payments. In connection

12
  Countrywide claims it was entitled to seek the $238.67 under the terms of the agreed order. The Court disagrees.
The agreed order does not address Countrywide’s authority to collect any post-petition fees.

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with the motion, Countrywide posted an undisclosed and unauthorized charge of $705.00 to the

Morenos’ mortgage account. The Morenos cured the delinquency and Countrywide withdrew its

motion on June 5, 2002, but failed to remove the unauthorized charge.

         Countrywide filed a second motion for relief from the automatic stay on February 4,

2003. Countrywide charged $455.00 in attorney’s fees to the Morenos’ account in connection

with the motion. The motion was resolved by an agreed order on March 5, 2003. The motion

authorized Countrywide to charge $1,104.00 in post-petition arrearages, $44.16 in late charges,

and $705.00 in attorney’s fees to the Morenos’ account. The total amount, $1,853.16, was to be

paid through six monthly installments of $308.86.

         On March 13, 2003, on the motion of the bankruptcy trustee, the Court dismissed the

Morenos’ case for failure to make plan payments. The Court vacated the dismissal order on

April 3, 2003. The case was dismissed a second time on January 22, 2004. The Court vacated

the second dismissal order on February 26, 2004.

         The Morenos eventually paid their pre-petition mortgage arrearage and were discharged

on December 27, 2006. On December 3, 2007, Countrywide sent the Morenos a notice of

default that included $2,719.53 in pre-discharge fees. Countrywide claims that $1,231.98 of the

$2,719.53 in fees were incurred during the two times in which the Morenos’ case was dismissed

(before the dismissal orders were vacated).13 Countrywide does not offer any justification for its

attempts to collect the remaining $1,487.55 in post-petition fees.



13
   Countrywide did not oppose the Morenos’ motions to vacate the dismissal orders and did not appeal the entry of
the orders vacating the dismissal orders. Accordingly, the Court fails to understand why these events have legal
significance. If the orders were vacated, then Countrywide cannot rely on the vacated orders to impose the legal
fees. Nevertheless, this is an open legal issue not yet briefed by the parties and it will be decided only at trial on the
merits or by summary judgment. Furthermore, the Court expresses no view as to whether the entry of dismissal
orders justified the incurrence of legal fees; that question should be addressed as part of the Rule 2016(a) application
process.

                                                           11
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        The evidence suggests that Countrywide charged the Morenos various undisclosed and

unauthorized fees throughout the course of their bankruptcy case. Accordingly, at least a portion

of the $1,487.55 in fees may represent charges Countrywide posted to the Morenos’ account

without Court authorization. For example, Countrywide admits it charged an unauthorized

$200.00 proof of claim filing fee shortly after the Morenos filed their bankruptcy petition.

(Def.’s Mot. Summ. J. 19).         Additionally, the March 5, 2003 agreed order authorized

Countrywide to charge $705.00 in attorney’s fees, but instead Countrywide charged a total of

$1,160.00 to the Morenos during the course of their bankruptcy. Thus, Countrywide charged the

Morenos $455.00 in unauthorized attorney’s fees during their case.           Finally, the evidence

indicates Countrywide charged unauthorized inspection fees and possibly other unauthorized

fees.

        iv. Countrywide’s Internal Systems & Collection Practices

        In addition to evidence regarding the named Plaintiffs’ cases, the majority of the evidence

presented at the class certification hearing dealt with Countrywide’s internal systems and its fee

collection practices. Some of the evidence presented by Plaintiffs overlapped and was consistent

with Countrywide’s evidence. As discussed throughout the next section, the most contentious

issues do not concern the facts themselves, but rather how the facts surrounding Countrywide’s

systems and practices apply within the class action framework. However, to the extent relevant

factual issues are unresolved, the Court makes its findings of fact for the purpose of certification,

along with its findings concerning undisputed facts, below. See COMPLEX LITIGATION, supra,

§ 21.21 (“An evidentiary hearing to resolve disputed facts relevant to the certification decision

should not be a minitrial on the merits of the class or individual claims. Instead, the parties

should present facts and arguments to let the judge determine the nature of the claims and


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defenses and how they will be presented at trial, [and] whether there are common issues that can

be tried on a class-wide basis . . . .”) (citing Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 177-78,

91 S. Ct. 2140, 40 L. Ed. 2d 732 (1974)).

             a. Countrywide’s AS-400 System

         Countrywide’s mortgage files are stored electronically in an AS-400 database. Both

parties presented extensive evidence concerning the information stored in and the capabilities of

Countrywide’s AS-400 database. The key witnesses who discussed the AS-400 in detail were

Jason Escalante and Thomas Bradford.14 Although distinctions arose, Escalante and Bradford

substantially agreed on many points involving the AS-400 system and its capabilities.

         The AS-400 contains a massive database that stores all of the information relating to each

mortgage serviced by Countrywide. For each mortgage account, the data compiled on the AS-

400 includes (i) an itemization of all the fees posted to each account and whether the fee is

classified as recoverable from the mortgagor,15 (ii) an itemization of all the fees collected by

Countrywide, (iii) a breakdown of all the payments made to Countrywide towards a mortgage

14
   Bradford, Plaintiffs’ expert witness, is an AS-400 consultant who has worked with the AS-400 since 1988.
Although Bradford displayed substantial knowledge of the AS-400’s functionality, Bradford did not have specific
knowledge of Countrywide’s AS-400 database. (Cert’n Hr’g Tr. 30-62, Dec. 15, 2009). Bradford augmented this
lack of first-hand knowledge by placing massive amounts of data provided by Countrywide into his own separate
AS-400 database. Id. By making assumptions based on Countrywide’s data, Bradford attempted to replicate
Countrywide’s AS-400 database within his AS-400 model. Id. Bradford is highly skilled and did an impressive job
with Countrywide’s data. His overall knowledge of the AS-400 database was very credible. Bradford’s knowledge
of Countrywide’s system, which was gleaned by replicating Countrywide’s AS-400, was often consistent with
evidence presented by Countrywide. However, because he lacked first-hand knowledge of Countrywide’s AS-400
and cross-examination revealed that some of his assumptions regarding Countrywide’s AS-400 may have been
incorrect (Cert’n Hr’g Tr. 139-141, Dec. 15, 2009), the Court found that Bradford’s testimony, although credible,
was not always as credible as that of Countrywide’s witness, Jason Escalante.

Escalante has been employed by Countrywide since 1993 and has been a senior software delivery manager for
approximately five years. Escalante’s role within Countrywide is to provide information technology (“IT”) support
for Countrywide’s foreclosure, bankruptcy, and real estate management teams. Escalante displayed a sound overall
understanding of Countrywide’s AS-400 system.
15
  A fee classified as “recoverable” is one that can be collected from the debtor whereas “non-recoverable” and
“waived” fees are not collected from the debtor. Generally, post-petition fees were classified as recoverable. (Cert’n
Hr’g Tr. 35-105, Dec. 14, 2009). See also (Cert’n Hr’g Tr. 214-16, Dec. 15, 2009).

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account,16 (iv) information concerning a mortgagor’s bankruptcy filing and status, and (v) all

information regarding the escrow and principal balance of the mortgage.17 (Cert’n Hr’g Tr. 161-

205, Dec. 14, 2009).

           The only relevant data noticeably absent from the AS-400 database is information

concerning court authorization of fee awards. The database does not track the amount or the

occurrence of any fees awarded to Countrywide by a bankruptcy court. For example, the Court

awarded $705.00 for attorney’s fees in the December 2, 2002 agreed order between Countrywide

and the Herreras. The Court’s fee authorization would not be displayed on the AS-400 database.

Only the fact that Countrywide charged $705.00 in attorney’s fees to the Herreras would appear

in the database.

           However, the AS-400 does contain other data specifically related to mortgages owed by

debtors in bankruptcy. Countrywide uses the AACER18 service to track bankruptcy court

proceedings. (Cert’n Hr’g Tr. 175-85, Dec. 14, 2009). When a mortgagor files for bankruptcy,

AACER is used to automatically populate the date of the bankruptcy filing into the AS-400

database. (Cert’n Hr’g Tr. 175-77, Dec. 14, 2009). Warning codes then appear in the AS-400 “to

let everyone within servicing know that a loan is affected by a bankruptcy.” (Cert’n Hr’g Tr.

202-03, Dec. 15, 2009). Similarly, when a case is dismissed or discharged, Countrywide relies




16
  This breakdown indicates who made the payment, the amount of the payment, and the manner in which the
payment was applied to the debt.
17
  The AS-400 database contains additional data; however, the Court need only discuss the data contained in the AS-
400 that is relevant to this case.
18
     AACER stands for “automated access to court electronic records.”



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upon AACER to populate that information into the AS-400.19 (Cert’n Hr’g Tr. 175-77, Dec. 14,

2009). See also (Cert’n Hr’g Tr. 220, Dec. 15, 2009). Escalante was unsure whether additional

bankruptcy data was automatically populated or entered manually by technicians. Nonetheless,

Escalante’s deposition testimony indicates that the AS-400 database also contains the bankruptcy

case number, the bankruptcy chapter, the name of the trustee handling the case, and the date of

the chapter 13 plan confirmation. (Cert’n Hr’g Tr. 179-85, Dec. 14, 2009). See also (Cert’n Hr’g

Tr. 203-04, Dec. 15, 2009).

        There is also a bankruptcy ledger screen in the AS-400 database. The ledger, which

distinguishes between pre and post-petition funds, is used to record all of the funds that are

received in a bankruptcy case. (Cert’n Hr’g Tr. 204, Dec. 15, 2009). Countrywide employees

update the bankruptcy ledger manually on a daily basis with loan payment and balance

information. (Cert’n Hr’g Tr. 206, Dec. 15, 2009)

        Furthermore, the AS-400 database is more than a record-keeping device for each

individual mortgage account. It also has the capacity to run what appears to be an unlimited20

range of queries which can access, sort, and extract mortgage data on any scale. An AS-400

query could range from one concerning a specific aspect of an individual mortgage account to a

query accessing certain data from all mortgages serviced by Countrywide. For example, through

the AS-400 database, Countrywide could easily run a search to locate all the fees charged to

Rodriguez’s account. Countrywide could also query all the fees charged to every Countrywide


19
  The Court notes that this data makes it easy to determine whether a fee was incurred on a mortgage account while
a bankruptcy case was pending. Since fees are itemized by date in the AS-400 database, one need only run a query
to determine whether any fees accrued during the pendency of the bankruptcy case. See (Cert’n Hr’g Tr. 217, Dec.
15, 2009).
20
  According to both Bradford and Escalante, the only limit on the capacity to run searches in the AS-400 is that the
information must be contained in the AS-400 database. So long as the information exists on the system, it can be
accessed through a query.

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account in the Southern District of Texas, or even to every mortgage account nationwide.21

Additionally, once a query is made, the results can be extracted and loaded into another AS-400

database. (Cert’n Hr’g Tr. 201, Dec. 14, 2009). This would enable the searcher to isolate data in

a separate database and then run additional queries within that isolated data. (Cert’n Hr’g Tr.

201, Dec. 14, 2009). Basically, if the information is in the AS-400 system, it can be accessed,

sorted, and extracted by Countrywide. As stated by Escalante, if the information is readily

available, a “query can be written for anything.” (Cert’n Hr’g Tr. 166-67, Dec. 14, 2009).

             b. Countrywide’s Collection Practices

        The certification hearing reinforced Countrywide’s admission at the summary judgment

stage that Countrywide regularly posted fees to debtors’ accounts without first seeking

bankruptcy court approval under Rule 2016(a). However, Countrywide did not completely

ignore bankruptcy court review of the fees it assessed post-petition to bankruptcy debtors.

Countrywide presented evidence that, at times, it sought approval of fees when it filed an agreed

order. The $705.00 in attorney’s fees Countrywide sought in the December 2, 2002 agreed order

with the Herreras exemplifies this point. Basically, when Countrywide was already filing a

document with a bankruptcy court, it was not uncommon22 for Countrywide to seek fees23 along



21
  Another interesting example, which was discussed at the certification hearing, dealt with discharge queries.
Escalante answered “yes” when asked whether a query could locate “everyone who had been discharged [from
bankruptcy over] . . . a certain period of time.” (Cert’n Hr’g Tr. 182, Dec. 14, 2009). Escalante also stated that a
query can be written to search for specific fees according to their fee codes within the database. (Cert’n Hr’g Tr.
206, Dec. 14, 2009). See also (Cert’n H’rg Tr. 192-205).
22
  The Court does not find that it was Countrywide’s regular practice to request fees when filing an agreed order.
The Court simply recognizes that the evidence shows there were multiple occasions when Countrywide did seek
fees in such circumstances.




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with the primary relief sought. On the other hand, the evidence also indicates that Countrywide

regularly charged fees without requesting approval from bankruptcy courts.

        Renee Hertzler, the compliance manager in Countrywide’s short-sales department, who

has worked in various departments at Countrywide since 1993, gave extensive deposition

testimony regarding fee collection. (Cert’n Hr’g Tr. 28-110, Dec. 14, 2009). Hertzler indicated

that whenever a fee was assessed upon a mortgage account, the fee would be placed, either

automatically or by a technician, in the AS-400 database.24                   For example, if an attorney

submitted an invoice for a service provided to Countrywide in connection with a mortgage,

Countrywide would pay the attorney and then place the fee on the mortgagor’s account on the

AS-400 database.        Unless the fee was either waived or classified as non-recoverable, the

placement of the fee in the AS-400 database enabled Countrywide to collect, or at least attempt

to collect, the fee from the mortgagor. (Cert’n Hr’g Tr. 43-47, Dec. 14, 2009).

        Hertzler’s testimony demonstrates that this fee collection practice continued after the

filing of a bankruptcy petition. When assessing attorney’s fees against debtors in bankruptcy, for

example, Hertzler stated that Countrywide did not have a policy to wait until the bankruptcy

court approved the fees before classifying them as recoverable from the debtor in the AS-400.

(Cert’n Hr’g Tr. 45-46, Dec. 14, 2009). Instead, once an attorney submitted a fee invoice

involving a debtor in bankruptcy, the fee would be posted to the debtor’s account, generally as a


23
   The Court makes no finding that the fees sought were always related to costs associated with the document being
filed by Countrywide. For example, Countrywide charged the Morenos $455.00 for attorney’s fees associated with
their February 4, 2003 motion for relief from the automatic stay but requested $705.00 in attorney’s fees in the
March 5, 2003 agreed order. Thus, it appears Countrywide sought additional legal fees that were unrelated to the
February 4, 2003 motion for relief from the stay. This assumption is also supported by the fact that Countrywide
charged the Morenos $705.00, without the Court’s authorization, in connection with its May 8, 2002 motion for
relief from the automatic stay.
24
  See also (Cert’n Hr’g Tr. 135-150, Dec. 14, 2009) (Escalante discussing the placement of fees in the AS-400
database).

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recoverable fee.25 Furthermore, Hertzler stated that she could not recall any instance where

Countrywide’s bankruptcy department asked her to reclassify a fee because it had not been

approved by a bankruptcy court. (Cert’n Hr’g Tr. 84, Dec. 14, 2009).

        Similarly, the deposition testimony of Jenifer Reed, a supervisor in Countrywide’s

bankruptcy department, illustrates that Countrywide did not consider bankruptcy court

authorization before charging fees to debtors in bankruptcy. Reed stated that Countrywide

generally conducts a home inspection when a mortgage is not current and charges fees associated

with the inspection to the mortgagor. (Cert’n Hr’g Tr. 256, Dec. 14, 2009). See also (Cert’n Hr’g

Tr. 238, Dec. 15, 2009). Countrywide did not exclude bankruptcy debtors from this inspection

fee collection practice. To the contrary, inspection fees were regularly assessed as recoverable

fees against bankruptcy debtors’ accounts. In Reed’s experience, these inspection fees were

automatically charged irrespective of whether such fees were submitted to the bankruptcy court

for approval. (Cert’n Hr’g Tr. 256, 262, 291, Dec. 14, 2009).

        Reed further acknowledged that Countrywide collected fees from bankruptcy debtors

without court approval, and that Countrywide sought to recover uncollected fees that remained

on debtors’ accounts after bankruptcy. (Cert’n Hr’g Tr. 256-62, Dec. 14, 2009).

             c. Countrywide’s Discharge Audit Procedures

        Countrywide conducts manual discharge audits of mortgages when debtors are

discharged from bankruptcy.           According to Countrywide, the discharge audit procedures

revealed the unauthorized fees that Countrywide attempted to collect from the named Plaintiffs




25
  See also (Cert’n Hr’g Tr. 256, Dec. 14, 2009) (Countrywide’s bankruptcy supervisor stating that inspection fees
were automatically posted—generally as recoverable fees—in the AS-400 database regardless of whether the
mortgagor had filed a bankruptcy petition).

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post-discharge. Countrywide claims it began enhancing its discharge audit procedures in late

2007 and completed the enhancements in 2008. (Cert’n Hr’g Tr. 242, Dec. 15, 2009).

       John Smith, Countrywide’s senior vice president of foreclosure and real estate

management, discussed how (in late 2007) Countrywide enhanced its procedures for monitoring,

charging, auditing, and collecting fees assessed during bankruptcy. (Cert’n Hr’g Tr. 114-25, Dec.

14, 2009). In particular, Smith stated that Countrywide now has 360 bankruptcy technicians who

review bankruptcy court orders and compare them with the fees due in the AS-400 database.

(Cert’n Hr’g Tr. 126, Dec. 14, 2009).         The bankruptcy technicians’ duties also include

conducting enhanced bankruptcy discharge audits, which entail:

               [A] full review of the loan to ensure, as it’s being closed out, that
               all payments have been reviewed to ensure that they are posted in
               accordance with the trustee’s designations or for incoming
               customer payments. They would also ensure that any fees that
               were remaining on the account were identified and if -- again, if it
               was in the case of discharge, if the account was to be current at that
               time, trying to make a determination with communication with
               counsel whether or not, in fact, those fees were appropriate or
               whether they needed to be reclassified or written off.

(Cert’n Hr’g Tr. 126-27, Dec. 14, 2009).

       Kelly May, who has worked in Countrywide’s bankruptcy department since 1999 and is

currently the first vice president of bankruptcy servicing, elaborated on Countrywide’s discharge

procedures. (Cert’n Hr’g Tr. 198, Dec. 15, 2009). May stated that the bankruptcy technicians are

directed to review post-petition fees, “to determine what they are; why were they incurred, have

they been dealt with already . . . at another point in the case; had they already been re-classed or

book-lossed for some reason.” (Cert’n Hr’g Tr. 222, Dec. 15, 2009). Then the technicians “. . .

[review] the appropriate orders in the case to determine if [the fees have] been dealt with there.”

(Cert’n Hr’g Tr. 222, Dec. 15, 2009). See also (Cert’n Hr’g Tr. 258, Dec. 15, 2009) (May admits


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that Countrywide “could review any other orders [in addition to agreed orders] against the fees

that have been charged to the account”). Countrywide is able to review the bankruptcy courts’

docket through AACER, which enables the technicians to “pull up a copy of the applicable

orders, view them, see if they address post-petition fees and if so how those fees are addressed.”

(Cert’n Hr’g Tr. 224, Dec. 15, 2009). If unauthorized fees exist, the bankruptcy technicians must

then confer with Countrywide’s attorneys to determine whether such fees are recoverable from

the debtor. (Cert’n Hr’g Tr. 214, Dec. 15, 2009). If the fees are not recoverable from the debtor,

then they are either reclassified as non-recoverable from the debtor (but potentially recoverable

from other entities) or waived.

         May acknowledged that before the 2007 procedures were implemented, Countrywide

“did not believe there needed to be a court order for . . . fees to be charged to [a] debtor” and that

“in some cases” such fees could be collected from the debtor post-discharge. (Cert’n Hr’g Tr.

246-47, Dec. 15, 2009). However, according to May, unauthorized fees have generally been

waived since the 2007 audit procedures were implemented. (Cert’n Hr’g Tr. 246-47, Dec. 15,

2009).

         There was evidence that brought the effectiveness of Countrywide’s enhanced audit

procedures into doubt. First, on cross-examination, May could not explain why Countrywide

sought to collect unauthorized fees from the Morenos and Herreras in late 2007 after their

respective discharges in 2007. (Cert’n Hr’g Tr. 249, Dec. 15, 2009). May also stated that

procedures similar to those developed in 2007 for waiving unauthorized fees “were included in

the discharge audit prior to 2007.” (Cert’n Hr’g Tr. 248, Dec. 15, 2009). Finally, May admitted

that she was generally unaware of Countrywide’s collection policies and practices after the loan

leaves the bankruptcy department. (Cert’n Hr’g Tr. 248, Dec. 15, 2009).


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        In sum, the point at which Countrywide’s discharge audit procedures became fully

operational is unclear. It is also unclear whether Countrywide’s claim that it no longer collects

unauthorized fees assessed during bankruptcy from debtors discharged after 2007 is accurate. It

is quite clear, on the other hand, that Countrywide’s regular course of business for loans in

bankruptcy involves comparing the fees due in the AS-400 database with bankruptcy court

orders through AACER.

                                                 Analysis

        In order to certify a class, the plaintiff must satisfy the four prerequisites—numerosity,

commonality, typicality, and adequacy of representation—found in Rule 23(a), and one of the

categories of Rule 23(b).26 FED. R. CIV. P. 23. See also Zeidman v. J. Ray McDermott & Co., 651

F.2d 1030, 1038 (5th Cir. 1981) (providing that “in each case the burden of proof is on the

plaintiff who seeks to . . . certify his suit”). However, before considering Rule 23(b), the “district

court must conduct a rigorous analysis of the Rule 23(a) [prerequisites] . . . .” O’Sullivan v.

Countrywide Home Loans, Inc., 319 F.3d 732, 738 (5th Cir. 2003) (citations omitted). Once the

prerequisites are met, the Court may then look to whether the class satisfies Rule 23(b). As set

forth below, the Court grants, in part, Plaintiffs’ motion for class certification pursuant to Rule

23(b)(2).

        i. The Class Definition

        At the outset, the Court finds it necessary to discuss and redefine the definition of the

putative class. See FED. R. CIV. P. 23(c)(1)(B) (specifying that a class action certification order

“must define the class and the class claims, issues, or defenses . . .”); NEWBERG, supra, § 1.1 (4th

ed. 2002) (“A court may certify a class with respect to particular issues in a case rather than all

26
   Federal Rule of Bankruptcy Procedure 7023 incorporates Federal Rule of Civil Procedure 23. FED. R. BANKR.
P. 7023.

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elements of a claim or an entire case.”) (citing FED. R. CIV. P. 23(c)(1)(B)). Plaintiffs seek to

certify an “Unapproved Fees Class” comprised of approximately 125 individuals who:

         (a) filed a chapter 13 proceeding in the United States District Court for the Southern
         District of Texas on or before October 15, 2005 and have confirmed chapter 13 plans that
         treated mortgages which are serviced by Countrywide, and

         (b) as to whom Countrywide has assessed a fee or cost,27 attributable to a time after the
         filing of a bankruptcy petition and before the date on which the case was closed, unless
         such fee or cost was listed in a proof of claim or was assessed pursuant to an order of the
         Bankruptcy Court, and

         (c) from whom Countrywide did collect or attempt to collect such fee or cost, or for
         whom Countrywide will seek to collect such fee or cost.

(Pls.’ Br. 18-19).

         This definition satisfies the requirement that a class be “adequately defined and clearly

ascertainable.” See DeBremaecker v. Short, 433 F.2d 733, 734 (5th Cir. 1970) (“It is elementary

that in order to maintain a class action, the class sought to be represented must be adequately

defined and clearly ascertainable.”) (citations omitted). The class’s definition unambiguously

sets forth the specific types of individuals for whom Plaintiffs seek redress. Such individuals are

clearly ascertainable through queries of Countrywide’s AS-400 database.

         However, the Court nevertheless finds it necessary to (1) redefine the class with respect

to the relief sought, and (2) narrow the definition of the class in order to exclude those putative

class members who will not benefit from the relief available to the redefined class. See In re

Monumental Life Insurance Co., 365 F.3d 408, 414 (5th Cir. 2004) (“District courts are

permitted to limit or modify class definitions to provide the necessary precision.”). Plaintiffs

seek a declaratory judgment finding Countrywide’s conduct violates the Bankruptcy Code and an

injunction prohibiting Countrywide from attempting to collect undisclosed fees. Plaintiffs also

27
  Plaintiffs define “fee or cost” as including any charges other than amounts assessed for interest, hazard insurance,
or real estate taxes.

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request compensatory damages (including disgorgement and restitution), punitive damages, and

sanctions.

         As set forth below in the Court’s Rule 23(b) analysis, the Court grants certification on

Plaintiffs’ claim seeking injunctive relief and denies certification on Plaintiffs’ claims for

damages.      Since Plaintiffs’ damages claims do not satisfy Rule 23(b), the Court finds it

unnecessary to determine whether the damages claims satisfy the Rule 23(a) prerequisites.

Accordingly, the Court redefines the class as one seeking injunctive relief pursuant to Rule

23(b)(2). See Bolin v. Sears, Roebuck & Co., 231 F.3d 970, 975 (5th Cir. 2000) (“[A] court

should certify a class on a claim-by-claim basis, treating each claim individually and certifying

the class with respect to only those claims for which certification is appropriate.”).

         Given the relief available to the redefined class, it is appropriate to further narrow the

class to exclude those potential members who do not stand to benefit from injunctive relief.28

Accordingly, the Court narrows the class to include only those individuals:

         (a) who owed funds on a Countrywide serviced note as of February 26, 2008;

         (b) who have not fully paid the relevant mortgage note, fees, or costs owed to
         Countrywide, its successors and assigns;

         (c) who filed a chapter 13 proceeding in the United States Bankruptcy Court for the
         Southern District of Texas on or before October 15, 2005 and have confirmed chapter 13
         plans that treated mortgages serviced by Countrywide; and

28
   Although the evidence indicates that few, if any, individuals fit within these categories, the Court identifies two
types of potential class members who do not belong in the redefined class. See Monumental Life, 365 F.3d at 416
(Certification “under rule 23(b)(2) is appropriate only if members of the proposed class would benefit from the
injunctive relief they request.”) (emphasis added). First, the class members who have already fully paid their
mortgages will not benefit from the redefined relief. Obviously, once a mortgage account is paid in-full, the
proposed injunction (barring the collection of unauthorized fees) becomes useless. The primary remedy for any
class member who paid unauthorized fees in the course of paying his or her mortgage in-full would probably be
disgorgement. Second, class members who no longer had a mortgage serviced by Countrywide as of February 26,
2008—the date this class action was filed—will not benefit from the redefined relief. For example, if Countrywide
transferred a putative class member’s mortgage account to Wells Fargo on February 25, 2008, Wells Fargo would
not be bound by the proposed injunction with regard to that putative class member’s mortgage. Accordingly, such
individuals are not appropriate class members.

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       (d) as to whom Countrywide has assessed a fee or cost governed by Rule 2016(a),
       attributable to a time after the filing of a bankruptcy petition and before the date on which
       the individual received a chapter 13 discharge, unless such fee or cost was approved in a
       Bankruptcy Court order.

       ii. The Rule 23(a) Prerequisites

       Rule 23(a) provides:

               One or more members of a class may sue or be sued as
               representative parties on behalf of all members only if:

               (1) the class is so numerous that joinder of all members is
               impracticable;

               (2) there are questions of law or fact common to the class;

               (3) the claims or defenses of the representative parties are typical
               of the claims or defenses of the class; and

               (4) the representative parties will fairly and adequately protect the
               interests of the class.

FED. R. CIV. P. 23(a).

       As set forth below, the Court addresses each Rule 23(a) prerequisite in turn and finds that

Plaintiffs satisfy Rule 23(a).

           a. Numerosity

       Rule 23(a)(1) requires that the class be “so numerous that joinder of all members is

impracticable.” FED. R. CIV. P. 23(a)(1). This involves a practical inquiry into the unique facts of

the case to determine whether joinder is impracticable; however, the plaintiff need not go so far

as to prove joinder is impossible. See Robidoux v. Celani, 987 F.2d 931, 935 (2d Cir. 1993)

(“Impracticable does not mean impossible.”) (citations omitted). See also 1 NEWBERG, supra,

§ 3:3 (4th ed. 2002).




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       To satisfy the numerosity burden, a “plaintiff must ordinarily demonstrate some evidence

or reasonable estimate of the number of purported class members.” Zeidman 651 F.2d at 1038.

A showing that the class consists of more than forty members “should raise a presumption that

joinder is impracticable.” Mullen v. Treasure Chest Casino, LLC, 186 F.3d 620, 624 (5th Cir.

1999) (quoting 1 NEWBERG, supra, § 3.05, at 3-25 (3d ed. 1992)). However, “the actual number

of class members is [not necessarily] the determinative question, for ‘[t]he proper focus (under

Rule 23(a)(1)) is not on numbers alone, but on whether joinder of all members is practicable in

view of the numerosity of the class and all other relevant factors.’” Zeidman, 651 F.2d at 1038

(quoting Philips v. Joint Legislative Comm., 637 F.2d 1014, 1022 (5th Cir. 1981)). Courts

should consider additional factors, including, (i) the interest of judicial economy, (ii) whether the

class involves small individual claims, (iii) the geographical dispersion of the class, and (iv) the

ease with which class members may be identified. See Zeidman, 651 F.2d at 1038; 1 NEWBERG,

supra, § 3:3 (4th ed. 2002) (the numerosity test helps assure that the two class action objectives

of “judicial economy and access to the legal system, particularly for persons with small

individual claims” are served).

       Given these additional practical considerations, “[i]t is not surprising . . . that no

definitive pattern has emerged under Rule 23(a)(1) in terms of the [necessary] number of

purported class members.” Zeidman, 651 F.2d at 1038. Nonetheless, the Fifth Circuit’s Mullen

decision provides authority for resolving the numerosity issues surrounding this case.

       In Mullen, the Fifth Circuit determined that a class of between 100 and 150 members—

comprised of individuals who developed respiratory illnesses after working on a floating casino

operating out of Louisiana—satisfied the numerosity prerequisite. Mullen, 186 F.3d at 624-25.

The Court noted that the size of the class was “within the range that generally satisfies the


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numerosity requirement.” Id. at 624 (citing 1 NEWBERG, supra, § 3.05, at 3-25 (3d ed. 1992)).

The Court then held:

                 Notwithstanding the lack of any direct evidence, the district court
                 reasonably inferred from the nature of the putative class members’
                 employment that some of them would be geographically dispersed
                 [due to the transient nature of employment in the gambling
                 business]. It also reasonably presumed that those potential class
                 members still employed by Treasure Chest might be unwilling to
                 sue individually or join a suit for fear of retaliation at their jobs.
                 Based upon those considerations, it was within the district court’s
                 discretion to find that joinder of all 100 to 150 class members
                 would be impracticable.

Id. at 625.

        Based on the Fifth Circuit’s Mullen decision and the numerosity factors, the Court finds

that the class of approximately 125 individuals satisfies the numerosity standard.

                      i. Class Size

        At the class certification hearing, Plaintiffs presented credible expert testimony indicating

that approximately 125 individuals comprise “unapproved fees” class.29 Under Mullen, the 125

potential class member figure fits squarely within the range that generally satisfies the

numerosity requirement.

                     ii. Size of Plaintiffs’ Claims

        The relatively small claims involved in each representative’s case supports a finding of

numerosity.30 See ARTHUR R. MILLER, AN OVERVIEW                      OF   FEDERAL CLASS ACTIONS: PAST,

PRESENT AND FUTURE 23 (1977), available at [http://www.fjc.gov/public/pdf.nsf/lookup/fdclsac.pdf]




29
 The 125 individuals were drawn from a pool of approximately 750 debtors in the Southern District of Texas, with
mortgages serviced by Countrywide, who received a chapter 13 discharge during the applicable class period.
30
   The evidence indicates that the putative class members’ claims are similar in size to those of the class
representatives.

                                                       26
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(“If [claims] are small, the chances are that there is impracticability of joinder because people are

not likely to become involved in litigation if only a small amount of money is at stake.”).

         In Rodriguez’s case, for example, Countrywide admits that it misapplied a $92.00

payment by crediting it towards the satisfaction of unauthorized inspection fees. Countrywide

also acknowledges that the delinquency notice it sent Rodriguez after her discharge included

$127.78 in unauthorized late fees which accrued during Rodriguez’s case. Without the class

action device, it is unlikely that Rodriguez’s claims, which could amount to as little as

approximately $200.00, or even $92.00, could be resolved by the judicial system.

       The Court reaches the same conclusion with regard to the Herreras’ and Morenos’ cases.

For example, many of the inspection fees which Plaintiffs claim were unauthorized in the

Herreras’ case were for only $11.50.        Although Plaintiffs make additional allegations, the

Herreras’ case primarily deals with allegations concerning a $200.00 undisclosed proof of claim

fee and various undisclosed fees Countrywide sought post-discharge totaling $238.67. Similarly,

the maximum amount at issue in the Morenos’ case is the $2,719.53 in post-petition fees

Countrywide sought on December 3, 2007.           The Court is confident that a portion of the

$2,719.53 includes unauthorized fees; however, it is quite possible the unauthorized amount

Countrywide attempted to collect is well under $1,000.00.

       Plaintiffs also claim Countrywide misapplied funds collected from the Herreras and

Morenos. To the extent these allegations prove true, the amount of money at issue is likely on

the same level as the $92 which Countrywide admits misapplying in Rodriguez’s case.

         Accordingly, the small size of the claims at issue favors a finding that the class is

sufficiently numerous.




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                   iii. Judicial Economy

        Judicial economy also favors a finding that numerosity exists. Judicial resources are

wasted when each individual debtor is forced to seek an injunction prohibiting Countrywide

from collecting or attempting to collect unauthorized fees. The class action device enables the

Court to grant injunctive relief more efficiently and on a larger scale. Instead of approximately

125 class members seeking individual injunctions, the class action device enables the entire class

to seek relief in one lawsuit.

                   iv. Geographical Dispersion

        This is not a case where the class is geographically disbursed. By definition, each class

member must live within the Southern District of Texas.            Accordingly, this factor favors

Countrywide’s position that numerosity is lacking.

                   v. Ease of Identification

        The class members can be easily and quickly identified through running queries of the

AS-400 database. This factor therefore supports Countrywide’s contention that numerosity does

not exist.

                   vi. Conclusion: Plaintiffs Satisfy Rule 23(a)(1)

        Mullen demonstrates that Rule 23(a)(1) does not require a movant to show that every

factor favors numerosity before a court can find numerosity exists. In Mullen, the Fifth Circuit

upheld a class of 100 to 150 individuals based on two factors (in addition to the size of the class).

This case deals with a class of approximately 125 individuals, which is nearly identical to the

Mullen class. There are also two additional factors favoring certification, the small amounts at




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issue and judicial economy.31 Accordingly, under Mullen, the Court holds that the class satisfies

Rule 23(a)(1).

             b. Commonality

         Rule 23(a)(2) provides that there must be “questions of law or fact common to the class.”

FED. R. CIV. P. 23(a)(2). The threshold for commonality is not high and the claims at issue need

not be identical. See Gene and Gene LLC v. BioPay LLC, 541 F.3d 318, 325 (5th Cir. 2008);

James v. City of Dallas, Tex., 254 F.3d 551, 570 (5th Cir. 2001); 1 NEWBERG, supra, § 3:10 (4th

ed. 2002) (“The requirement is easily met in most cases.”). “The plaintiff need only show ‘there

is at least one issue whose resolution will affect all or a significant number of the putative class

members.’” Doiron v. Conseco Health Ins. Co., 279 F. Appx. 313, 316 (5th Cir. 2008) (citing

Forbush v. J.C. Penney Co., 994 F.2d 1101, 1106 (5th Cir. 1993)). “Therefore, the fact that

some of the [p]laintiffs may have different claims, or claims that may require some

individualized analysis, is not fatal to commonality.” James, 254 F.3d at 570.

         In this case, since common questions of fact and law exist, Rule 23(a)(2) is satisfied.

                       i. Common Questions of Fact

         The members of the putative class share a common experience. Countrywide allegedly

charged unapproved fees during the pendency of the class members’ bankruptcy cases and has

collected, attempted to collect, or may attempt to collect such unapproved fees from them. This


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   The Court does not ignore the factors favoring Countrywide’s position. Instead, the Court finds the three factors
favoring Plaintiffs’ position, taken together, tip the scale in favor of numerosity. Additionally, the Court notes that
“the provision of a convenient and economical means for disposing of similar lawsuits, and the facilitation of the
spreading of litigation costs among numerous litigants with similar claims” are two of Rule 23’s principal
objectives. U.S. Parole Comm’n v. Geraghty, 445 U.S. 388, 402, 100 S. Ct. 1202, 63 L. Ed. 2d 479 (1980). See also
1 NEWBERG, supra, § 1:6 (4th ed. 2002) (“the spreading of litigation costs [objective] . . . has been characterized as a
recognition that the class action serves to afford individual claimants with small claims access to judicial relief that
otherwise would be economically unavailable by means of individual litigation.”) (citing Deposit Guar. Nat’l Bank,
Jackson, Miss. v. Roper, 445 U.S. 326, 339, 100 S. Ct. 1166, 63 L. Ed. 2d 427 (1980)). The Court’s numerosity
finding is consistent with these objectives.

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common experience evolved into Plaintiffs’ allegation that Countrywide employed a pattern or

practice of charging fees to debtors without any regard for Rule 2016(a). Accordingly, the

question of whether Countrywide systematically ignored Rule 2016(a) by charging unauthorized

fees is a common question affecting the class. See Bolin, 231 F.3d at 975 (finding that to satisfy

Rule 23(b)(2), class action plaintiffs must show harm resulting from a “uniform policy” and “not

simply diverse acts in various circumstances”). See also 1 NEWBERG, supra, § 3:10 (4th ed.

2002) (“When the party opposing the class has engaged in some course of conduct that affects a

group of persons and gives rise to a cause of action, one or more of the elements of that cause of

action will be common to all of the persons affected.”).

                  ii. Common Questions of Law

       Plaintiffs’ allegation that Countrywide’s collection practices violate Rule 2016(a) also

involves common questions of law.        At the summary judgment stage, the Court rejected

Countrywide’s contention that Rule 2016(a) was inapplicable to Countrywide’s post-petition and

post-discharge collection practices. See Rodriguez, 421 B.R. at 372-80. In essence, the Court

held that Countrywide may not legally ignore Rule 2016(a). However, the Court did not resolve

Rule 2016(a)’s scope. The question of Rule 2016(a)’s scope, which must be resolved at trial, is a

common question of law that will affect all class members.

       More specifically, the Court must determine whether Rule 2016(a) applies to every fee

and cost Countrywide has assessed against debtors in bankruptcy, or only to certain fees and

costs. See also Wilborn, --- F.3d ----, 2010 WL 2433091, at *5 (“There is disagreement among

the bankruptcy courts as to the scope of the requirement under § 506(b) and Rule 2016 for

lenders to obtain court approval before assessing contractually-allowed fees.”). Rule 2016(a)

provides:


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                 An entity seeking interim or final compensation for services, or
                 reimbursement of necessary expenses, from the estate shall file an
                 application setting forth a detailed statement of (1) the services
                 rendered, time expended and expenses incurred, and (2) the
                 amounts requested . . . . The requirements of this subdivision shall
                 apply to an application for compensation for services rendered by
                 an attorney or accountant even though the application is filed by a
                 creditor or other entity.

FED. R. BANKR. P. 2016(a). Countrywide’s counsel has previously acknowledged on the record

that Rule 2016(a) applies to fees for professional services; counsel stated, “I think if you were

going to try to collect a fee from the estate, a fee for professional services, it would be subject to

2016.” Rodriguez, 421 B.R. at 379. This is consistent with the Court’s conclusion and it is

therefore safe to say that attorney’s fees are subject to Rule 2016(a). However, the Court must

still decide whether other fees and costs—such as the inspection fees charged to the named

Plaintiffs—fall within Rule 2016(a)’s purview. In order to do so, the Court must interpret the

meaning of “entity,” “services,” and “necessary expenses” within Rule 2016(a).

        Furthermore, the Court must determine the extent to which Rule 2016(a) applies to fees

assessed by Countrywide (1) after a case is dismissed from bankruptcy, and (2) before the

dismissal order is vacated by the bankruptcy court.32 As set forth in note 13 above, the Court is

quite skeptical that a vacated order would have legal significance. Nevertheless, this issue must

be fully briefed by the parties and the Court will consider further argument on this issue.

        Accordingly, Rule 2016(a)’s scope is a legal question that is common to all class

members.



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   The Morenos’ case best exemplifies this issue. On two occasions, the Court entered orders dismissing the
Morenos’ case from bankruptcy. The bankruptcy court subsequently vacated both dismissal orders. The Court must
therefore determine whether 2016(a) applies to any fees assessed against the Morenos during this interim period.
Additionally, the Court finds that this issue is common to many of the class members. The Court’s review of the
Southern District of Texas’s records indicates that approximately 80 chapter 13 dismissal orders were vacated over
the past year.

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                  iii. Conclusion: Plaintiffs Satisfy Rule 23(a)(2)

       Plaintiffs have shown that there are factual and legal issues whose resolution will affect

all or a significant number of the putative class members. Plaintiffs have therefore satisfied Rule

23(a)(2).

            c. Typicality

       Rule 23(a)(3) requires that the “claims or defenses of the representative class are typical

of the claims or defenses of the class.” FED. R. CIV. P. 23(a)(3). “Like commonality, the test for

typicality is not demanding.” James, 254 F.3d at 571. The typicality analysis “focuses on the

similarity between the named plaintiffs’ legal and remedial theories and theories of those whom

they purport to represent.” Id. The analysis “seeks to assure that the interests of the [class]

representative[s] are aligned with the common questions affecting the class . . . .” 1 NEWBERG,

supra, § 3:13 (4th ed. 2002). However, it does not require a complete identity of claims. James,

254 F.3d at 571. “Rather, the critical inquiry is whether the class representative’s claims have

the same essential characteristics of those of the putative class.” Id. See also 1 NEWBERG, supra,

§ 3:13 (4th ed. 2002) (“The rationale for this provision is that a plaintiff with typical claims will

pursue his or her own self-interest in the litigation, and in so doing, advance the interests of the

class members, which are aligned with those of the representative.”).

       In this case, the essential characteristics of the class representatives’ claims are that

Countrywide (1) charged unauthorized fees during the pendency of their bankruptcies, and

(2) attempted to collect the unauthorized fees (by threatening to foreclose) after the class

representatives were discharged from bankruptcy.         The class representatives seek an order

enjoining Countrywide’s allegedly illegal collection practices.




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          The essential characteristics of the putative class members’ cases are nearly identical.

Their claims arise from the same course of conduct at issue in the class representatives’ cases;

namely, Countrywide’s collection practices. The putative class also shares the legal theory that

Countrywide’s collection practices violate Rule 2016(a). Finally, the injunctive relief sought by

the class representatives will benefit the entire class.33

          In sum, the claims of the class representatives and putative members essentially involve

the same course of conduct by Countrywide. The claims can be resolved under the same legal

theory.      There are no divergent interests between the representatives and class members.

Although facts specific to each case may differ, the Fifth Circuit has made clear that if “the

claims arise from a similar course of conduct and share the same legal theory, factual differences

will not defeat typicality.” James, 254 F.3d at 571. See also Mullen, 186 F.3d at 626 (finding

typicality when the “named Plaintiffs’ and proposed class members’ legal and remedial theories

appear[ed] to be exactly the same,” even though the specific injuries suffered by the class

members may not have been the same). Accordingly, Rule 23(a)(3)’s typicality prerequisite is

satisfied.

              d. Adequacy of Representation

          Rule 23(a)(4) provides that a class may be certified only if “the representative parties will

fairly and adequately protect the interests of the class.” FED. R. CIV. P. 23(a)(4). “To meet Rule

23 requirements, the court must find that class representatives, their counsel, and the relationship

between the two are adequate to protect the interests of absent class members.” Unger v.

Amedisys Inc., 401 F.3d 316, 321 (5th Cir. 2005) (citing Stirman v. Exxon Corp., 280 F.3d 554,

33
  The Court recognizes that some of the putative class members may nevertheless seek additional relief in the form
of damages from Countrywide if the Court orders the injunction sought by the class. As set forth below, this relief is
individualized and not subject to certification. However, the potential for additional, individualized relief does not
defeat typicality.

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563 (5th Cir. 2002)).        This requires an “inquiry into the zeal and competence of the

representative’s counsel and into the willingness and ability of the representative to take an

active role in and control the litigation and to protect the interests of absentees . . . .” Horton v.

Goose Creek Indep. Sch. Dist., 690 F.2d 470, 484 (5th Cir. 1982).

                     i. Class Counsel

          Countrywide does not contest the adequacy of counsel and the Court finds Plaintiffs’

counsel is sufficiently zealous and competent to represent the class. For over two years counsel

has been handling this and other similar class actions before the Court. Counsel is intimately

familiar with the underlying issues in these cases and has competently and zealously represented

their clients in numerous proceedings before the Court. The Court sees no reason why counsel

would not continue to represent Plaintiffs in the same manner throughout the remainder of the

case.

                    ii. Class Representatives

          In order for class representatives to satisfy the adequacy standard, they must “possess a

sufficient level of knowledge and understanding to be capable of controlling or prosecuting the

litigation.” Berger v. Compaq Computer Corp., 257 F.3d 475, 482-83 (5th Cir. 2001). However,

the “class representatives need not be legal scholars and are entitled to rely on counsel . . . .” Id.

at 483.

          Countrywide argues that the class representatives are inadequate because they have been

passive, uninformed participants throughout the class action. The Court disagrees. Upon review

of the live and deposition testimony presented at the certification hearing, the Court concludes

that the class representatives are sufficiently active and informed to satisfy the adequacy

standard.


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        The Herreras both testified on the first day of the class certification hearing. Ms. Herrera,

who handles the family’s financial affairs, displayed an adequate knowledge of the overall class

action and her unique role within it.34 When asked why she is suing Countrywide, Ms. Herrera

responded “[b]ecause I receive a letter that I owe a lot of fees and they are going to foreclose on

my house.” (Cert’n Hr’g Tr. 217, Dec. 14, 2009). Ms. Herrera also explained that a class action

is comprised of “several different people who have the same problem as [her], the same similar

-- problem as [her].” (Cert’n Hr’g Tr. 218, Dec. 14, 2009). Most importantly, Ms. Herrera

demonstrated an understanding of her role as a class representative: “[The class representative is]

to take care of the other people, to fight for them. Representative, a representative for all the

other people . . . . I want that they return the money that they’ve took . . . . They are going to

take houses of the other people. I don’t want the same problem as me.” (Cert’n Hr’g Tr. 218,

Dec. 14, 2009).

        Rodriguez also testified at the class certification hearing. (Cert’n Hr’g Tr. 4-24, Dec. 15,

2009). Rodriguez demonstrated a sufficient understanding of the nature of this class action

lawsuit. For instance, Rodriguez stated that a class action encompasses “a group of people that

the same thing has happened to” and that she was responsible for representing that group of

people. (Cert’n Hr’g Tr. 9, Dec. 15, 2009). When asked on cross examination to explain who

specifically comprised this class, Rodriguez responded, “[t]hey’ve gone through a bankruptcy

and their homes have [been] taken -- they’re being charged hidden fees and some people don’t

know.” (Cert’n Hr’g Tr. 11, Dec. 15, 2009). Rodriguez further explained that she “want[s]


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  Mr. Herrera also testified at trial. Mr. Herrera has been less involved in the case. Mr. Herrera follows the case
mainly through communications with his wife and his bankruptcy attorney. Nevertheless, Mr. Herrera understood
the basic purpose of a class action and role of class representatives. However, since Ms. Herrera handles the
family’s financial affairs and has been more involved in the case, the Court focuses primarily on her testimony when
considering the adequacy of the Herreras’ representation.

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Countrywide . . . not to be charging hidden fees that they’re not supposed to -- because so we

won’t lose our homes . . . .” (Cert’n Hr’g Tr. 11, Dec. 15, 2009).

        The Morenos did not testify at the certification hearing; instead, Plaintiffs submitted the

Morenos’ deposition testimony to the Court. In her deposition, Ms. Moreno displayed her

understanding that this case primarily involves Countrywide’s alleged practice of charging

unauthorized fees and improperly seeking to collect the unauthorized fees post-discharge.35

(Moreno Dep. 107:1-6, Sept. 9, 2009).               Additionally, after discussing how Countrywide’s

collection practices had affected her, Ms. Moreno stated that her goal for the class action was for

“[t]his not to happen again to anybody.” (Moreno Dep. 37:24). As a class representative, she

recognized that it is her responsibility to “[k]eep in touch with everything that’s going on, the

meetings, and talking to our lawyers.” (Moreno Dep. 105:18-19). She also understood that class

actions entail “[w]atch[ing] out for others . . . for everybody that’s been hurt this way” and not

simply protecting one’s own interests. (Moreno Dep. 105:15-16).

        Not only are the class representatives aware of the nature of this class action and their

role within it, the representatives have also been active participants in the class action. All of the

representatives have willingly produced documents, answered interrogatories, and participated in

depositions.     Rodriguez and the Herreras testified at the certification hearing.                  Rodriguez,

Ms. Herrera, and Ms. Moreno have also communicated with the class’s attorneys on a regular

basis, in order to remain informed on the case’s status and to discuss other issues, including

strategy and settlement. Accordingly, the Court rejects Countrywide’s contention that the class

representatives’ knowledge of, and activity within, the class action renders them inadequate.


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   Since Ms. Moreno is primarily responsible for the Moreno’s household finances and has played a greater role in
this case, the Court focuses primarily upon her deposition testimony. Nevertheless, upon reviewing his deposition,
the Court also finds that Mr. Moreno is sufficiently involved in the case to satisfy the adequacy standard.

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        Countrywide also claims that the representatives are inadequate because unique facts and

injuries are at issue in each individual case, which create divergent interests between the

representatives and putative class members. If the Court had not redefined the class as one

seeking only injunctive relief, this argument would potentially be meritorious. By narrowing the

class’s claims, however, the differences between each individual case became largely irrelevant.

The only remaining differences involve the specific fees charged and collected in each individual

case. These differences do not create conflicts of interest. Each class member stands to benefit

from injunctive relief.       Each class member will also be free to pursue any additional,

individualized claims for damages outside of the class action. Accordingly, the differences that

remain do not render the representatives inadequate. See James, 254 F.3d at 571 (“Differences

between named plaintiffs and class members render the named plaintiffs inadequate

representatives only if those differences create conflicts between the named plaintiffs’ interests

and the class members’ interests.”).

        In sum, the class representatives are not the most sophisticated individuals and are far

from legal scholars.36 They do not understand all of the legal technicalities at issue in this case.

On the other hand, they all demonstrated a keen awareness of Countrywide’s alleged improper

collection practices. They also displayed a strong devotion to pursuing their claims not just on

their own behalves but also on behalf of the entire class. Accordingly, the Court finds that the

class representatives satisfy Rule 23(a)(4)’s adequacy requirement.

                    iii. Conclusion: Plaintiffs Satisfy Rule 23(a)(4)

        For the reasons set forth above, the Court finds that the class counsel is both zealous and

competent. The Court also finds that the class representatives are willing and able to play an

36
    For example, at least some of the representatives have not graduated high school, and one representative has
difficulty reading.

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active role in this lawsuit and to protect the interests of the entire class. Accordingly, Plaintiffs

have satisfied Rule 23(a)(4)’s adequacy requirement.

       iii. Rule 23(b)(2) and (b)(3)

       Upon satisfying the Rule 23(a) prerequisites, Plaintiffs must then satisfy one of Rule

23(b)’s three prongs. Plaintiffs seek certification pursuant to Rule 23(b)(2) or, alternatively,

Rule 23(b)(3). As set forth below, the Court certifies Plaintiffs’ claim for injunctive relief

pursuant to Rule 23(b)(2), and denies certification on all damages claims.

           a. Rule 23(b)(2)

       A Rule 23(b)(2) class may be certified if “the party opposing the class has acted or

refused to act on grounds generally applicable to the class, thereby making appropriate final

injunctive relief or corresponding declaratory relief with respect to the class as a whole.” FED. R.

CIV. P. 23(b)(2). “The (b)(2) class action . . . was intended to focus on cases where broad, class-

wide injunctive or declaratory relief is necessary.” Allison v. Citgo Petroleum Corp., 151 F.3d

402, 412 (5th Cir. 1998). “The Advisory Committee Notes and our cases make clear that

injunctive or declaratory relief is not ‘appropriate’ when the ‘final relief relates exclusively or

predominantly to money damages.’” Bolin, 231 F.3d at 975 (citations omitted). “The underlying

premise of the (b)(2) class—that its members suffer from a common injury properly addressed

by class-wide relief—begins to break down when the class seeks to recover . . . forms of

monetary relief to be allocated based on individual injuries.” Allison, 151 F.3d at 413. “Thus,

Rule 23(b)(2) contains two requirements: (1) behavior generally applicable to the class as a

whole; [and] (2) injunctive relief predominates over damages.” Bolin, 231 F.3d at 975.




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                       i. Rule 23(b)(2) Prong 1: Behavior Generally Applicable to the Class

         In Bolin, the Fifth Circuit explained that in order for a defendant’s alleged “pattern or

practice” to satisfy the “generally applicable to a class as whole” prong, it “must consist of a

uniform policy allegedly applied against the plaintiffs, not simply diverse acts in various

circumstances.” Id. at 976. Certification “is improper if the merits of the claim turn on the

defendant’s individual dealings with each plaintiff.” Id.

         Bolin applied the rule to a class comprised of plaintiffs who purchased Sears merchandise

on credit, subsequently filed bankruptcy, and thereafter were subjected to the alleged illegal

practices37 employed by Sears to coerce payment of discharged, pre-bankruptcy debt. Id. at 972.

The Court held:

                  Here, while some of the challenged practices appear to present
                  more of a uniform policy than others, several of the practices cited
                  by Bolin, if proved, would present a case of conduct applicable to
                  the class: Bolin alleges that the value chart, the credit offers, the
                  practice of failing to file agreements with the bankruptcy court,
                  and the form letters were promulgated by central authority and
                  applied across the board. To the extent they are a centralized
                  policy, they would be evidenced by Sears’s policy manuals,
                  customer accounts, and recovery records. These allegations are
                  analogous to the reaffirmation filing issue in the prior class action,
                  which Sears concedes was properly certified. Thus, the plaintiffs
                  have alleged behavior generally applicable to the class.

Id. at 973.

         In this case, Plaintiffs allege Countrywide employed a fee assessment and collection

practice that ignored Rule 2016(a). Plaintiffs have presented evidence supporting this allegation.

First, the evidence indicates that, instead of seeking authorization, Countrywide charged

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  Plaintiffs alleged that Sears’ illegal practices included “the development and reliance on a chart inflating the value
of collateral; offers of new credit on extortionate terms; failure to file redemption and other repayment agreements;
unwarranted assertions of security interests; abusive litigation practices, including contesting bankruptcy discharges
and filing separate state court actions post-discharge; and making coercive and threatening communications to
debtors, both orally and in writing.” Id. at 972-73.

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unauthorized fees in each of the class representatives’ cases. After the representatives were

discharged from bankruptcy, Countrywide attempted to collect the unauthorized fees and

threatened foreclosure if the fees were not timely paid.

         The evidence also indicates that the class as a whole was generally subjected to the same

fee assessment and collection practices as the named Plaintiffs. In particular, the evidence shows

that Countrywide had no policy for complying with Rule 2016(a). Multiple employees38 of

Countrywide, each of whom was intimately familiar with Countrywide’s relevant bankruptcy

and fee collection policies, testified that Countrywide would regularly assess fees without any

concern for Rule 2016(a)’s requirements. The employees also testified that Countrywide would

regularly classify unauthorized fees as recoverable from debtors in the AS-400 database.

         Occasionally, Countrywide did seek fees within agreed orders submitted to bankruptcy

courts. The Plaintiffs do not dispute that the agreed orders are binding. Although agreed orders

do not satisfy Rule 2016(a)’s procedural requirements, such orders should not be revisited in this

class action lawsuit. However, the evidence indicates that Countrywide sought fees within

agreed orders largely when it was convenient to do so.

         Overall, Countrywide assessed and charged fees to the class according to its

understanding that its conduct was not regulated by Rule 2016(a), and Countrywide did not file

Rule 2016(a) applications during the relevant period. Accordingly, the Court finds that Plaintiffs

have sufficiently alleged behavior applicable to the class as a whole under Rule 23(b)(2) and

Bolin.




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  The employees include Hertzler, Reed, and May. Their respective positions and experiences with Countrywide
are discussed above in the background section of this opinion.

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                   ii. Rule 23(b)(2) Prong 2: Injunctive Relief Predominates Over Damages

       In Monumental Life, the Fifth Circuit gave a detailed summary of Rule 23(b)(2)’s

requirement that injunctive relief predominate over damages. Monumental Life, 365 F.3d at

415-21. The Court outlined the concepts at the foundation of Rule 23(b)(2): the “rule’s focus on

injunctive and declaratory relief presumes a class best described as a ‘homogenous and cohesive

group with few conflicting interests among its members.’” Id. at 415 (quoting Allison, 151 F.3d

at 413). The class is united by a collective harm that “centers on the defendants’ alleged

unlawful conduct, not on individual injury.” Monumental Life, 365 F.3d at 415. “Once monetary

damages enter the picture, however, class cohesiveness is generally lost, because ‘[m]onetary

remedies are more often related directly to the disparate merits of individual claims.” Id. (quoting

Allison, 151 F.3d at 413). “Where the need to address the merits of individual claims requires

separate hearings, the efficiency gained by class litigation is lost.” Id. at 415-16.

       Monumental Life next explained the specific inquiry that courts must conduct:

               In Allison, . . . we held . . . that monetary relief, to be viable in a
               rule 23(b)(2) class, must “flow directly from liability to the class as
               a whole on the claims forming the basis of the injunctive or
               declaratory relief.” Monetary relief must be incidental, meaning
               that it is “capable of computation by means of objective standards
               and not dependent in any significant way on the intangible,
               subjective differences of each class member’s circumstances.”
               Additional hearings to resolve “the disparate merits of each
               individual’s case” should be unnecessary.

Id. at 416 (quoting Allison, 151 F.3d at 415).

       The Court applied the predominance inquiry to plaintiffs’ appeal of the district court’s

denial of Rule 23(b)(2) certification. The underlying class action dealt with African-American

life insurance policyholders’ allegations that over 280 life insurance companies engaged in two

overtly discriminatory practices for over fifty years. Id. at 412. First, the plaintiffs alleged that


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they were charged higher rates for the same policies sold to white policyholders. Id. Second,

plaintiffs claimed that the defendants placed blacks in “specially designed substandard industrial

policies providing fewer or lower benefits than . . . comparable plans sold to whites . . . .” Id.

Plaintiffs “(1) sought an injunction prohibiting the collection of discriminatory premiums, (2)

reformation of policies to equalize benefits, and (3) restitution of past premium overcharges or

benefits underpayments.” Id. at 412-13.

       The district court denied certification because it found that the monetary relief sought by

the plaintiffs did not flow from liability to the class as a whole. Id. at 418. “The court stated that

‘many and a variety of hearings would be required to determine personalized harm to each

individual plaintiff because of the mass of policies involved, differing underwriting practices

among some 280 companies, differing built-in benefits, account dividends, and age at policy

issuance.’” Id.

       The Fifth Circuit reversed and remanded the district court’s decision.             The Court

recognized that the plaintiffs’ damages would “depend on the idiosyncrasies” of each specific

policy. Id. at 419. However, the idiosyncrasies were not fatal to class certification because the

plaintiffs proposed “using standardized formulas or restitution grids to calculate individual class

members’ damages.” Id.         Although hundreds of grids were necessary to account for the

variations in policies, the grids enabled damages to be determined through the sort of objective

calculations contemplated by Rule 23(b)(2):

                  In the list of policy variables cited by defendants and the district
                  court, none requires the gathering of subjective evidence. This is
                  not, for example, like Allison, a title VII case in which class
                  members’ claims for compensatory and punitive damages
                  necessarily “implicate[ ] the subjective differences of each
                  plaintiff’s circumstances.”      Rather, assuming that unlawful
                  discrimination is found, class members automatically will be
                  entitled to the difference between what a black and a white paid for

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                the same policy. Not coincidentally, such damages flow from
                liability in much the same manner that an award of backpay results
                from a finding of employment discrimination.

                We are well aware that, as Allison qualifies, the calculation of
                monetary damages should not “entail complex individualized
                determinations.” Although it is arguable that the construction of
                thousands of restitution grids, though based on objective data,
                involves the sort of complex data manipulations forbidden by
                Allison, we read Allison to the contrary. The policy variables are
                identifiable on a class wide basis and, when sorted, are capable of
                determining damages for individual policyowners; none of these
                variables is unique to particular plaintiffs. The prevalence of
                variables common to the class makes damage computation
                “virtually a mechanical task.”

                Finally, defendants’ records contain the information necessary to
                determine disparities between, on the one hand, [the] policies [sold
                to blacks], and on the other hand, plans sold to whites. Damage
                calculations do not require the manipulation of data kept outside
                defendants’ normal course of business.

Id. (citations omitted).

                           1. Plaintiffs’ Damages Claims do not Satisfy Rule 23(b)(2)

        In the present case, Plaintiffs seek compensatory damages, including restitution and

disgorgement, as well as punitive damages and sanctions. Plaintiffs claim that such remedies are

incidental to the injunctive relief they seek under Rule 23(b)(2). In light of the Fifth Circuit’s

recent Wilborn decision, which analyzed disgorgement claims in a similar class action, the Court

addresses Plaintiffs’ claims for disgorgement first.       The Court then addresses Plaintiffs’

additional claims for damages. As set forth below, the Court denies certification of all Plaintiffs’

damages claims under Rule 23(b)(2).

                                  a. Plaintiffs’ Disgorgement Claim

        The Court’s analysis of Plaintiffs’ claim for disgorgement is governed by the Fifth

Circuit’s recent Wilborn decision. Wilborn, --- F.3d ----, 2010 WL 2433091. In Wilborn, a class


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of plaintiffs alleged that Wells Fargo charged undisclosed and unauthorized fees to debtors in

bankruptcy with mortgages serviced by Wells Fargo. Id. The alleged unauthorized fees included

“attorneys’ fees, recording fees, notification fees, title search fees, document fees, and property

inspection fees.” Id. The plaintiffs sought (1) a declaratory judgment that the undisclosed fees

were per se unreasonable, (2) disgorgement of any fees and costs actually collected by Wells

Fargo, and (3) an order enjoining Wells Fargo from charging fees and costs without bankruptcy

court authorization. Id.

       The Fifth Circuit determined that the claim for disgorgement was not incidental to the

injunctive and declaratory relief sought by the plaintiffs:

               The Plaintiffs’ request for disgorgement of fees is not merely
               incidental to the sought-after injunction and declaration. The
               amount that each plaintiff was charged, perhaps the amount that is
               “reasonable,” and any amount to be disgorged will depend on the
               specific circumstances of each class member and whether and how
               fees were imposed. See Maldonado, 493 F.3d at 524. We therefore
               disagree with the bankruptcy court’s determination that
               disgorgement amounts may be determined with mathematical
               certainty absent individual hearings.

Id. at 6. Thus, the plaintiffs’ claims for disgorgement failed to satisfy Rule 23(b)(2). Id.

       The disgorgement issues in this case are distinguishable from Wilborn on two levels.

First, the only issue in this case is whether the fees charged were authorized by a bankruptcy

court. In Wilborn, the bankruptcy court considered additional issues, including whether the fees

were (1) reasonable, (2) disclosed to the debtors, and (3) agreed to by the debtors. Id. Here, the

additional issues presented in Wilborn simply do not exist: the only issue is whether bankruptcy

court orders authorized certain fees. This involves a less complex and more objective inquiry.

       Second, the parties presented extensive evidence regarding the powerful capabilities of

Countrywide’s AS-400 database.         The database enables Countrywide to readily identify


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unauthorized fees in a relatively mechanical fashion. It does not appear that Wilborn involved a

database with capabilities comparable to the AS-400 database. For instance, in Wilborn, the

Court noted that it may be “necessary to determine whether fees were actually imposed on the

debtors or merely recorded on internal records.” Id. With the AS-400 database, a simple query

can answer that question; it can isolate all the fees that are posted as recoverable on the class

members’ accounts. Accordingly, this leads to the conclusion that the disgorgement inquiry in

this case would be less complex than that in Wilborn.

        Nevertheless, the Court finds that the distinctions do not merit departing from Wilborn

and certifying Plaintiffs’ claim for disgorgement. Although the disgorgement inquiry in this case

is probably less complex, the Court finds that it still entails considering the specific

circumstances of each class member.                Unlike in Monumental Life—where the plaintiffs

presented formulas and grids that enabled the calculation of individual damages without

specifically addressing individual cases—in this case, the Court can only analyze disgorgement

damages on a case-by-case basis.39 See Monumental Life, 365 F.3d at 419. In theory, the



39
   Monumental Life’s explanation of how the case differed from the Fifth Circuit’s O’Sullivan decision provides
useful guidance which supports the Court’s conclusion. See Monumental Life, 365 F.3d. at 420 n.19. After stating
that the plaintiffs’ formulas and grids avoided the need to make complex, individualized determinations,
Monumental Life distinguished O’Sullivan:

                 In this sense, the instant case is unlike O’Sullivan . . . in which we found
                 monetary damages predominant in a proposed Rule 23(b)(3) class alleging
                 violations of Texas’s statute prohibiting the unauthorized practice of law. Non-
                 lawyers were alleged to have used “legal skill or knowledge” in the preparation
                 of mortgage closing documents. Whether certain practices by the non-lawyers
                 violated the statute was determinable on a class wide basis; we explained,
                 however, that monetary damages predominated, because the extent of these
                 practices varied by transaction, and plaintiffs were entitled to a refund only for
                 those practices that violated the statute. Therefore, each transaction had to be
                 dissected to determine the extent of liability and damages.




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calculation is less complex and more mechanical than that in Wilborn, but it is still

individualized.

        The Court also heeds Wilborn’s admonition regarding the mortgagee’s potential defenses.

Wilborn stated that “where fees have been imposed Wells Fargo may have viable defenses to

some plaintiffs’ claims, such as waiver or estoppel.” Wilborn, --- F.3d ----, 2010 WL 2433091, at

*6. Countrywide has raised similar defenses that, if potentially meritorious, could diminish the

homogeneity of the class by necessitating individualized hearings.

        Finally, the Court denies certifying the disgorgement claims because the Court is not

convinced the remedy is actually necessary or appropriate. See Bolin, 231 F.3d at 975 (“[A] court

should certify a class on a claim-by-claim basis, treating each claim individually and certifying

the class with respect to only those claims for which certification is appropriate.”). The remedy

of disgorgement “wrests ill-gotten gains from the hands of a wrongdoer.” Allstate Ins. Co. v.

Receivable Fin. Co., 501 F.3d 398, 413 (5th Cir. 2007) (citing SEC v. Huffman, 996 F.2d 800,

802 (5th Cir. 1993)). “It is an equitable remedy meant to prevent the wrongdoer from enriching

himself by his wrongs.” Id. (citing Huffman, 996 F.2d at 802). This case does not necessarily

involve ill-gotten gains. Plaintiffs do not allege that Countrywide fabricated charges for fees in

order to steal money from unsuspecting debtors.                    Similarly, Plaintiffs do not claim that

Countrywide conspired with outside professionals to charge unearned fees to debtors and share

the ill-gotten profits. Instead, it at least appears that the fees at issue here were for services

actually rendered. It also appears that Countrywide was permitted by their mortgage contracts to


Id. (citing O’Sullivan, 319 F.3d at 744-45). Thus, although O’Sullivan involved a Rule 23(b)(3) class, Monumental
Life implicitly stated that O’Sullivan’s transaction-by-transaction analysis exemplifies a form of the individualized
determinations that are unacceptable under Rule 23(b)(2). This case’s disgorgement inquiry resembles the damages
analysis in O’Sullivan. The Court would have to review each charge applied to each class member’s account and
compare each charge to court orders to determine the extent of damages. According to Monumental Life, such
transaction-by-transaction analysis has no place in a Rule 23(b)(2) class action.

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perform (either through their employees or third parties) certain services that can be charged to

the mortgagor. In at least some instances, such services are apparently provided to protect

Countrywide’s interest in properties encumbered by Countrywide’s liens. The contracts also

permit Countrywide to collect fees for services performed from the mortgagors.

       The only disgorgement issue in this case is the legality of Countrywide’s unauthorized

fee collection practices under the Bankruptcy Code. There is no question that Countrywide is

entitled to collect various amounts from mortgagors in bankruptcy. One of the major factors

influencing chapter 13 filings is a debtor’s desire to cure a delinquent mortgage and save his or

her home.    In order to do so, the debtor must ordinarily make monthly payments to the

mortgagee during a bankruptcy case. Thus, there is nothing problematic about Countrywide

accepting funds from debtors in bankruptcy. Such funds are often applied properly to principal

and interest, the escrow account, or authorized fees.

       The problematic disgorgement issue arises when Countrywide properly receives funds

from the debtor but then applies those funds improperly; namely, in order to satisfy unauthorized

fees. The Court finds that, to the extent any of the class members were harmed by this practice,

disgorgement is probably not the appropriate remedy.        In Rodriguez’s case, for example,

Countrywide was permitted to receive Rodriguez’s monthly payments and apply them to satisfy

permissible charges on Rodriguez’s account. However, Countrywide admits misapplying $92 in

order to satisfy unauthorized inspection fees. If, at trial, the Court determines that inspection

fees are within the scope of Rule 2016(a), the proper remedy for Rodriguez is not an order

mandating Countrywide to disgorge the $92. Rodriguez properly paid and Countrywide properly

accepted the $92. After receiving the funds, Countrywide’s act of misapplying the $92 did not

convert the properly received funds into ill-gotten gains. As set forth below, the proper remedy


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is an order enjoining Countrywide from collecting Rodriguez’s loan balance until Countrywide

credits the $92 to a permissible charge, such as the mortgage balance or escrow account.40 The

$92 is not an ill-gotten gain that must be returned to Rodriguez.

        Accordingly, the Court denies certification of Plaintiffs’ claim for disgorgement.

                                     b. Plaintiffs’ Non-Disgorgement Damages Claims

        Although Wilborn did not consider other non-disgorgement claims for damages, the

Court also finds that Plaintiffs’ additional claims for compensatory and punitive relief are not

incidental to injunctive relief under Monumental Life. In fact, these additional damages claims

expose the class’s lack of homogeneity when damages enter the picture. This is particularly

evident upon review of the unique issues surrounding the Rodriguez and Herreras cases.

        In Rodriguez’s case, for example, Rodriguez made monthly payments below the amount

she was required to pay on numerous occasions. Rodriguez even did so after the Court signed an

agreed order stipulating that Rodriguez’s monthly mortgage payment was $938.00. Countrywide

also admits that it regularly sent Rodriguez inaccurate monthly account statements.                     The

statements indicated that Rodriguez’s mortgage account was current when, in fact, it was in

serious default due to Rodriguez’s incomplete monthly payments.

        Monumental Life made clear that “damage[s] calculation[s] ‘should neither introduce new

and substantial legal or factual issues, nor entail complex individualized determinations.’”

Monumental Life, 365 F.3d at 419 (quoting Allison, 151 F.3d at 415). The unique facts in

Rodriguez’s case—in which both Rodriguez and Countrywide made mistakes—open the door

for new legal and factual issues that increase the complexity of analyzing Rodriguez’s individual

case. A determination of whether Rodriguez is entitled to compensatory and punitive damages

40
  As discussed below, the only putative class members who would not benefit from the injunction are those who
have already paid their mortgage balances in-full. The Court does not include such individuals in the class.

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would likely force the Court to improperly consider such new issues. If the Court were to do so,

it would be losing sight of the class homogeneity that is a crucial aspect of Rule 23(b)(2)

certification. See Allison, 151 F.3d at 413 (“[B]ecause of the group nature of the harm alleged

and the broad character of the relief sought, the (b)(2) class is, by its very nature, assumed to be a

homogenous and cohesive group . . . .”).

       The conclusion also holds true upon review of the specific facts in the Herreras’ case.

The Herreras filed an inaccurate proof of claim on Countrywide’s behalf that greatly understated

the debt owed to Countrywide. Countrywide subsequently failed to abide by the June 22, 2007

agreed order when it attempted to collect $8,327.00 from the Herreras post-discharge.

Countrywide had previously agreed that the $8,327.00 would be added to the principal balance

of the Herreras’ mortgage. Such facts would require further inquiry into legal and factual issues

that are based on the Herreras’ unique experience dealing with Countrywide.

       In sum, the homogeneity that exists when focusing solely upon the question of whether to

enjoin Countrywide from collecting unauthorized fees is lost when damages are at issue. This is

especially true when the damages are not objectively determinable. See Allison, 151 F.3d at 417

(“The very nature of these damages, compensating plaintiffs for emotional and other intangible

injuries, necessarily implicates the subjective differences of each plaintiff’s circumstances; they

are an individual, not class-wide remedy . . . [and punitive damages] awarded on the basis of

intangible injuries and interests, are uniquely dependent on the subjective and intangible

differences of each class member’s individual circumstances.”).            The Court is unable to

objectively calculate damages on a class-wide scale when unique facts and legal issues must be

considered in each class member’s case. As evidenced by divergent characteristics of the

Rodriguez and Herreras cases, damages will likely be unique in each case.


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          Accordingly, the Court denies Rule 23(b)(2) certification on all of Plaintiffs’ damages

claims.

                            2. Plaintiffs’ Claim for Injunctive Relief Satisfies Rule 23(b)(2)

          As discussed above, the Court finds that once the class is redefined as one only seeking

injunctive relief, certification under Rule 23(b)(2) is appropriate. See Bolin, 231 F.3d at 975.

Rule 23(b)(2)’s predominance requirement is easily satisfied when only injunctive relief is

sought.

          However, certification “under Rule 23(b)(2) is appropriate only if members of the

proposed class would benefit from the injunctive relief they request.” Monumental Life, 365 F.3d

at 416. “The question whether the proposed class members are properly seeking such relief is

antecedent to the question whether that relief would predominate over money damages.” Id. As

set forth below, the Court finds that the class has sufficiently demonstrated that it will benefit

from the injunctive relief requested.

          “Fashioning appropriate injunctive relief depends upon the particular facts and

circumstances of a situation . . . .” In re Mirant Corp., 378 F.3d 511, 523 (5th Cir. 2004). See

also Gore v. Turner, 563 F.2d 159, 165 (“Appropriate relief . . . is to be determined on a case-by-

case basis . . . .”) (quoting United States v. Jamestown Center-in-the-Grove Apartments, 557

F.2d 1079, 1080 (5th Cir. 1977)). In each case, the court must tailor the injunctive relief to meet

“the needs of the particular situation.” Turner, 563 F.2d at 165 (quoting Jamestown 557 F.2d at

1080).     “[I]n considering whether to grant injunctive relief a court should impose upon a

defendant no restriction greater than necessary to protect the plaintiff from the injury of which he

complains.” Meltzer v. Bd. of Pub. Instruction, 548 F.2d 559, 568 (5th Cir. 1977). In the class

action arena, “the class must be sufficiently cohesive that any class wide injunctive relief can


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satisfy the limitations of Federal Rule of Civil Procedure 65(f)—namely, the requirement that it

‘state its terms specifically; and describe in reasonable detail . . . the act or acts restrained or

required.’” Shook v. Bd. of County Comm’rs, 543 F.3d 597, 604 (10th Cir. 2008).

         In this case, the Court finds that injunctive relief can be appropriately tailored to meet the

specific needs of the Plaintiffs. In the event Plaintiffs prevail at trial, the Court is prepared to

issue the following injunction: Countrywide shall not collect or attempt to collect any fees that

(1) were incurred during the pendency of a class member’s bankruptcy case, (2) are governed41

by Rule 2016(a), and (3) have not yet been authorized pursuant to Rule 2016(a).

         The proposed injunction would provide case-specific relief by protecting the class

members from the primary harm alleged by Plaintiffs.                     Plaintiffs brought this class action

principally to remedy Countrywide’s fee assessment and collection practices. Plaintiffs argue

that Countrywide’s practices are antithetical to the “fresh start” provided by chapter 13.42 In the

mortgage context, chapter 13 debtors “receive a fresh start through the ability to stave off

foreclosure, cure arrearages, and maintain mortgage payments.” Rodriguez, 421 B.R. at 366.

“This gives homeowners the opportunity to remain in their homes and emerge from bankruptcy

current on their mortgage payments.” Id. Plaintiffs claim that the collection of unauthorized fees

thwarts this fresh start by placing debtors in default upon their emergence from bankruptcy.

         If Plaintiffs prevail at trial and the Court orders the proposed injunction, Plaintiffs’ fresh

start will no longer be impeded by fees charged without authorization. For, even if Countrywide

41
  As set forth above in the section discussing Rule 23(a)(2), the scope of Rule 2016(a) is a question of law that must
be resolved at trial.
42
  The fresh start “gives to the honest but unfortunate debtor who surrenders for distribution the property which he
owns at the time of bankruptcy, a new opportunity in life and a clear field for future effort, unhampered by the
pressure and discouragement of pre-existing debt.” Local Loan Co. v. Hunt, 292 U.S. 234, 244-45, 54 S. Ct. 695, 78
L. Ed. 104 (1938). “The various provisions of the Bankruptcy Act were adopted in the light of that view and are to
be construed when reasonably possible in harmony with it so as to effectuate the general purpose and policy of the
act.” Id.

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has posted unauthorized fees on class member accounts, Countrywide would be enjoined from

collecting the fees. See Wilborn, --- F.3d ----, 2010 WL 2433091, at *6 (“The Bankruptcy Code

does not prohibit [creditors] from maintaining internal records of costs incurred.”) (quoting In re

Padilla, 379 B.R. 643, 662 (Bankr. S.D. Tex. 2007)).

       Furthermore, the Court finds it noteworthy that, assuming Countrywide’s discharge audit

procedures function in the manner described by Smith and May,43 Countrywide can easily

comply with the proposed injunction. Countrywide now employs approximately 360 bankruptcy

technicians who use AACER to review court orders upon each debtor’s discharge from

bankruptcy. The technicians then compare the relevant court orders with the fees posted in the

AS-400 database as recoverable from the discharged debtor. The technicians are required to

determine whether any of the fees showing in the database were charged without the bankruptcy

court’s authorization. This is the exact inquiry that Countrywide’s employees would be required

to conduct if the Court imposes the proposed injunction.              Since Countrywide employs

approximately 360 bankruptcy technicians, the Court finds that reviewing approximately 125

class members’ accounts would hardly be a Herculean task.

       The Court also finds that the proposed injunction is properly tailored to protect not only

those class members who were charged unauthorized fees but also those who had payments

misapplied by Countrywide. More specifically, the injunction would encompass the scenario

where (1) Countrywide charged unauthorized fees, (2) Countrywide subsequently collected the

unauthorized fees, at least in part, by improperly applying funds received from a class member or

bankruptcy trustee, and (3) the class member has not yet paid the mortgage in-full. Any funds

that Countrywide has previously and incorrectly applied towards the satisfaction of unapproved

43
  As discussed above, John Smith is Countrywide’s senior vice president of foreclosure and real estate
management, and Kelly May is the vice president of bankruptcy servicing at Countrywide.

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fees or expenses should actually have been applied to other, proper amounts that Countrywide is

permitted to collect—i.e. the mortgage debt. The $92 Countrywide admits improperly applying

towards unauthorized inspection fees in Rodriguez’s case provides a useful example of this

scenario. Assuming inspection fees are governed by Rule 2016(a), Countrywide should have

applied the $92 it received from Rodriguez to amounts Countrywide was permitted to collect

from Rodriguez. If the Court issues the proposed injunction, it would enjoin Countrywide from

collecting Rodriguez’s loan balance without crediting the $92 to a permissible charge.                           In

essence, the injunction would require Countrywide to correct the misapplied payments before

seeking to collect a class member’s loan balance.44

        Moreover, the proposed injunction is tailored to protect those class members who were

previously charged unauthorized fees but are now deemed current on their payments by

Countrywide.45 Rodriguez’s case once again provides a useful example of this scenario. After

Rodriguez was discharged from bankruptcy, Countrywide sent Rodriguez a notice of default and

threatened to foreclose if Rodriguez failed to cure the default. Once Rodriguez initiated this

lawsuit, however, Countrywide claims that it updated her account as current and removed the

deficiency. This act of deeming accounts current after litigation has commenced does not

sufficiently protect class members. Countrywide is easily able to reclassify fees from non-

recoverable to recoverable from the debtor in the AS-400 database. Thus, without the issuance

of the proposed injunction, there would be nothing preventing Countrywide from seeking to

44
   Such an injunction, which affirmatively compels Countrywide to correct misapplied payments, is within the
Court’s equitable powers. Alabama v. United States, 304 F.2d 583, 590 (5th Cir. 1962) (“Mandatory injunctions
affirmatively compelling the doing of some act, rather than merely negatively forbidding continuation of a course of
conduct, are a traditional tool of equity.”).
45
  The evidence indicates that only a small percentage of the putative class members fall within this category. And
those like Rodriguez, who had payments misapplied by Countrywide, would benefit from the injunction even if their
accounts were deemed current. Countrywide would still be required to correct the misapplications going-forward in
order to be in compliance with the injunction.

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collect unauthorized fees, which were deemed current during this class action, after the

conclusion of this case. See Meltzer, 548 F.2d at 568 (“The purpose of an injunction is to prevent

future violations . . . .”). See also Meza v. Livingston, 2010 WL 2000517, at *4 (5th Cir. 2010)

(“A defendant’s voluntary cessation of a challenged practice does not deprive a federal court of

its power to determine the legality of the practice, even in cases in which injunctive relief is

sought.”).

       The narrow tailoring of the proposed injunction is also evidenced by the fact that it does

not go so far as to preclude Countrywide from subsequently seeking Rule 2016(a) authorization

to collect fees that were previously assessed, without authorization, before the injunction’s

issuance. The injunction is not meant to punish Countrywide by impairing Countrywide’s ability

to collect authorized fees.     To the contrary, the effect of the injunction is to encourage

Countrywide to first seek bankruptcy court authorization of fees governed by Rule 2016(a)

before taking affirmative steps to collect such fees.

       In essence, the injunction restores the balance, previously ignored by Countrywide, that

Rule 2016(a) strikes between creditor and estate interests. The desire for efficiency underlying

the class action device facilitates this restoration. See Wilborn, --- F.3d ----, 2010 WL 2433091,

at *4 (“Class actions promote efficiency and economy in litigation . . . .”). Without a class

action, each individual class member would have to bring suit seeking an order enjoining

Countrywide from collecting unauthorized fees. The class action enables one or more litigants to

sue for an injunction that protects an entire class of individuals. The device therefore eliminates

piecemeal litigation concerning whether Countrywide must seek Court approval for fees that it

imposes: once the class is certified and the injunction is granted or denied, that issue will be

resolved as to all class members.


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          If the proposed injunction is issued, Countrywide remains free to seek authorization of

previously unauthorized fees by filing Rule 2016(a) applications. The Court recognizes that

Rule 2016(a) applications invoke the judicial process.      However, such applications do not

amount to the individualized hearings discussed at length in Monumental Life and Allison.

          Rule 2016(a) applications occur outside of the class action framework; they are simply

ministerial tasks within a process that is anticipated by the Bankruptcy Code and Bankruptcy

Rules. Bankruptcy courts routinely handle Rule 2016(a) applications in the ordinary course of

the bankruptcy process. When a Rule 2016(a) application is filed with a bankruptcy court, there

is notice and an opportunity for a hearing. However, in the vast majority of cases, no objection

is filed and bankruptcy courts resolve the 2016(a) application without the necessity of a hearing.

Although the Court has not located published statistics, the Court estimates that over 95% of

applications for compensation are considered without an actual hearing. Indeed, the records of

Southern District of Texas indicate that during the last 12 months, the bankruptcy judges in this

district have issued over 7,500 orders pursuant to Rule 2016(a). Only a handful of the orders

have been issued following a hearing. The Court sees no reason why this trend would not

continue in Countrywide’s case—assuming that the injunction is issued and Countrywide

chooses to file Rule 2016(a) applications.

          Nevertheless, in some instances, the Court (acting sua sponte) or a party raises issues

regarding a Rule 2016(a) fee application. In most such cases, a hearing is required. However,

those hearings are part of the routine humdrum of the bankruptcy process.          No adversary

proceeding is commenced and the disputes can be handled expeditiously by the bankruptcy

courts.     Once again, the Court sees no reason why this trend would not continue in

Countrywide’s case.


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       Finally, the Court underscores the efficiency provided by the proposed injunction. Rule

2016(a) applications impose a minimal burden on bankruptcy courts. That minimal burden will

exist irrespective of whether the injunction is ordered on a class-wide or piecemeal, case-by-case

basis. In either case, if Countrywide seeks fees under Rule 2016(a), the judicial process will be

invoked. Accordingly, there is efficiency gained by having one trial (to determine whether or

not to enjoin Countrywide’s conduct), even if it may result in subsequent Rule 2016(a)

applications.

       In sum, the Court finds that the proposed injunctive relief would benefit the class. The

injunction is also sufficiently tailored to satisfy the class’ claims without imposing unnecessary

restrictions upon Countrywide. Accordingly, the Court grants certification of the proposed class

on its claim for injunctive relief under Rule 23(b)(2).

           b. Rule 23(b)(3)

       The Plaintiffs also seek to certify the class under Rule 23(b)(3). Since the Court has

already granted certification on the claim for injunctive relief, the Court will only address

whether Plaintiffs’ damages claims satisfy Rule 23(b)(3). For the reasons set forth below, the

Court declines to certify Plaintiffs’ damages claims pursuant to Rule 23(b)(3).

       Rule 23(b)(3) requires the Court to find that “the questions of law or fact common to

class members predominate over any questions affecting only individual members, and that a

class action is superior to other available methods for fairly and efficiently adjudicating the

controversy.” FED. R. CIV. P. 23(b)(3). “The question of predominance is more demanding than

the Rule 23(a) requirement of commonality.” Wilborn, --- F.3d ----, 2010 WL 2433091, at *4

(citing O’Sullivan, 319 F.3d at 738). The “predominance inquiry tests whether proposed classes

are sufficiently cohesive to warrant adjudication by representation.” Id. (citing Amchem Prods.,


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Inc. v. Windsor, 521 U.S. 591, 623, 117 S. Ct. 2231, 138 L. Ed. 2d 689 (1997)). “It requires the

court to assess how the matter will be tried on the merits, which ‘entails identifying the

substantive issues that will control the outcome, assessing which issues will predominate, and

then determining whether the issues are common to the class.’” Id. (citing O’Sullivan, 319 F.3d

at 738).

        In Wilborn, the Fifth Circuit reversed the bankruptcy court’s certification order under

Rule 23(b)(3). The Court determined:

               The circumstances surrounding the charging of fees require an
               individual assessment of the claims. It appears that some debtors,
               like Wilborn, may have agreed to certain fees as an inducement to
               Wells Fargo for a loan modification and provided additional
               consideration for the modification. In other cases at least partial
               fees were approved for some debtors. Such varying circumstances
               will require the court to examine each individual bankruptcy case.
               The bankruptcy court cannot require Wells Fargo to simply
               disgorge all fees that were not previously approved because it is
               evident that there has been a wide “array of charges tailored” to
               each individual debtor. See Maldonado, 493 F.3d at 525-26.

               In some cases it may be appropriate to require Wells Fargo to
               disgorge fees, but we think that is for the bankruptcy court to
               decide. The differing circumstances of the debtors render the
               reasonableness of the individual charges a fact-specific inquiry
               rather than a class-oriented decision. See Maldonado, 493 F.3d at
               526. In some instances, it may also be necessary to determine
               whether fees were actually imposed on the debtors or merely
               recorded on internal records. See In re Padilla, 379 B.R. 643, 662
               (Bankr. S.D. Tex. 2007) (“The Bankruptcy Code does not prohibit
               [creditors] from maintaining internal records of costs incurred.”).
               Furthermore, where fees have been imposed Wells Fargo may have
               viable defenses to some plaintiffs’ claims, such as waiver or
               estoppel. See In re Monumental Life Ins. Co. Finally, the rulings of
               different bankruptcy judges during their cases may affect the
               computation of allowable charges by Wells Fargo. In short, the
               myriad issues that may arise in each case as to whether and how
               fees and costs were imposed preclude a class-wide disposition of
               the case under Rule 23(b)(3).

Id. at 5-6.

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       For reasons similar to those relied upon in denying certification of Plaintiffs’ damages

claims under Rule 23(b)(2), the Court denies certification under Rule 23(b)(3). See id. (“For

similar reasons [to the Court’s denial of certification under Rule 23(b)(3)], class certification is

improper under Rule 23(b)(2).”). The unique circumstances that must be addressed when claims

for damages are at issue “require an individual assessment of the claims.” Id.           Similarly,

Countrywide may have defenses that require analysis of individualized cases. Finally, it is

unclear whether the disgorgement claims, which require the least amount of individualized

analysis of all Plaintiffs’ damages claims, are even an appropriate remedy.

       In sum, this is a class that is united and cohesive when injunctive relief is the only relief

requested. The focus is properly upon Countrywide’s fee assessment and collection practice, not

on the individualized manner in which each class member may have been affected by the

practices. However, when damages enter the fray, individualized issues begin to predominate as

the Court must consider the harm suffered by each class member on a case-by-case basis.

Accordingly, the Court denies to certify Plaintiffs’ claims for damages under Rule 23(b)(3).

   iv. Notice to Class Members

       Rule 23 does not mandate notice in Rule 23(b)(2) class actions. 1 NEWBERG, supra, § 8:5

(4th ed. 2002) (“[C]lass actions seeking declaratory or injunctive relief under Rule 23(b)(2) are

not subject to the individual notice requirements of Rule 23(c)(2).”). Instead, the Court has

discretion to determine the extent to which the class members must be afforded notice of the

class action. See id. (“Rule 23(d), which empowers the court to construct notice procedures ‘for

the protection of members of the class or . . . for the fair conduct of the action,’ is clearly

discretionary with the court.”). The court may nevertheless issue orders requiring notice “to

some or all of the members regarding the pendency of the class, proposed judgment or

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settlement, soliciting input on the adequacy of class representation, opportunity to intervene and

present claims or defenses, and the like.” Id. “Notice is frequently advisable in (b)(1) and (b)(2)

classes to assist in identifying conflicting interests, class antagonism, or other diverse problems

of which the court was unaware at the certification hearing, and courts may order such notice

under the discretionary power of Rule 23(d)(2).” Id.

        In this case, the Court orders Plaintiffs to mail notice of the class certification to the class

members. Notice must be mailed to the address of each class member that is listed in the

AS-400 database. The notice must explain the nature of the class action and the potential for

injunctive relief.

    v. Conclusion

        For the reasons set forth above, the Court grants, in part, and denies, in part, Plaintiffs’

motion for class certification. A separate order will be issued.

        SIGNED July 21, 2010.


                                                    ___________________________________
                                                                Marvin Isgur
                                                    UNITED STATES BANKRUPTCY JUDGE




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